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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ____________________________________________x
 FARI MURRAY,
 DANIEL MOYLE,
 ROY WELSH,
 CARLOS PALAGUACHI,
 ROBERT SANTIAGO,
 AHMED RADWAN
 and
 WARREN PAYNE,
 individually and on behalf of others similarly
 situated,                                                        Case Number 20-1427
                                                                  DEMAND FOR JURY TRIAL
                                                Plaintiffs        COLLECTIVE ACTION
                                                                  UNDER 29 U.S.C. § 216(b)
                                                                  AMENDED COMPLAINT
 -against-


 UNITED PARCELS SERVICE, INC.,
 WILLIAM GREY,
 CHANCE STEWART, and
 LLOYD HALL
                                     Defendants.
 _____________________________________________ x

        Plaintiff Fari Murray (“Plaintiff Murray” or “Mr. Murray”), Plaintiff Daniel Moyle
 (“Plaintiff Moyle” or “Mr. Moyle”), Plaintiff Roy Welsh (“Plaintiff Welsh” or “Mr. Welsh”),
 Plaintiff Carlos Palaguachi (“Plaintiff Palaguachi” or “Mr. Palaguachi”), Plaintiff Robert Santiago
 (“Plaintiff Santiago” or “Mr. Santiago”), Plaintiff Ahmed Radwan (“Plaintiff Radwan” or “Mr.
 Radwan”) and Plaintiff Warren Payne (“Plaintiff Payne” or “Mr. Payne”) (Collectively,
 “Plaintiff’s”) individually and on behalf of others similarly situated, by and through their attorney,
 Tyrone Blackburn Esq, upon their knowledge and belief, and as against United Parcels Service,
 Inc. d/b/a UPS (“Defendant Corporation”), William Grey, Chance Stewart, and Lloyd Hall or
 (“Defendants”) alleges as follows:


                                      NATURE OF ACTION:
 1. This is an action for monetary and declaratory relief to redress Defendants’ violation of
    Plaintiffs’ workplace rights. Plaintiffs seek relief for employment discrimination in violation

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    of N.Y. Labor Law § 190 et seq. and 650 et seq. (The "NYLL"), for violation of Title VII of
    the Civil Rights Act of 1964, as amended (“Title VII”), CPLR 214 (4), the New York Equal
    Pay Act, (“NYSHRL”) N.Y. Exec. Law § 290 et seq., (NYSHRL) N.Y. Exec. Law § 296,
    (“NYCHRL”) Administrative Code of City of New York § 8-107 (7), Administrative Code of
    City of New York § 8-107 (6), Unjust Enrichment, N.Y. Lab. Law § 215 and 740, and
    Administrative Code of City of New York § 8-107 (13).
 2. At all times relevant to this Complaint, Defendants maintained a policy and practice of
    knowingly and willfully compensating black On-Road Supervisors, less than their Caucasian
    colleagues, in violation of Title VII of the Civil Rights Act of 1964 and New York City and
    state equal pay laws.
 3. At all times relevant to this Complaint, Defendants maintained a policy and practice of
    requiring Plaintiff Palaguachi, Plaintiff Santiago, Plaintiff Radwan and Plaintiff Payne, and
    other similarly situated employees, to work an excess of forty (40) hours a week without
    providing the overtime compensation required by state law and regulations.
 4. Plaintiffs now bring this action on behalf of themselves and other similarly situated employees
    for unpaid minimum and overtime wages, according to N.Y. Labor Law § 190 et seq. and 650
    et seq. (The "NYLL"), including applicable liquidated damages, interest, attorneys' fees, and
    costs.
 5. Plaintiffs seek certification of this action as a collective action on behalf of themselves
    individually, former employees, and all other similarly situated employees who elect to opt-in
    to this action according to N.Y. Labor Law § 190 et seq. and 650 et seq., specifically, the
    collective action provision of N.Y. CLS CPLR § 901.


                             ADMINISTRATIVE PROCEDURES
 6. Plaintiff Murray filed a Charge of Discrimination with the Equal Employment Opportunity
    Commission (“EEOC”) for his Title VII race wage discrimination claim. Plaintiff Murray was
    provided a Notice of Right to Sue by the EEOC. All conditions precedent to the filing of the
    suit have been performed or have occurred.
 7. Plaintiff Moyle filed a Charge of Discrimination with the Equal Employment Opportunity
    Commission (“EEOC”) for his Title VII disability discrimination claim. Plaintiff Moyle was



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    provided a Notice of Right to Sue by the EEOC. All conditions precedent to the filing of the
    suit have been performed or have occurred.
 8. Plaintiff Welsh filed a Charge of Discrimination with the Equal Employment Opportunity
    Commission ("EEOC") for his Title VII Disability and Religious Observance Discrimination
    claims. Plaintiff Welsh was provided a Notice of Right to Sue by the EEOC. All conditions
    precedent to the filing of the suit have been performed or have occurred.


                                   JURISDICTION AND VENUE
 9. This Court has subject matter jurisdiction under 28 U.S.C § 1331 (federal question) Title VII
    and supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C. § 1367(a).
 10. The venue is proper in this district under 28 U.S.C § 1391(b) and (c) because all, or a
    substantial portion of, the events or omissions giving rise to the claims occurred in this district,
    Defendants maintain several branches and offices within this district, and defendants operate
    a package delivery business located in this district. Further, Plaintiffs are or were employed by
    Defendants in this district.
                                              PARTIES
                                               Plaintiffs
 11. Plaintiff Fari Murray is an adult, English-speaking African American male who resides in
    Westchester County, New York.
 12. Plaintiff Daniel Moyle is an adult, English-speaking Caucasian male who resides in Bronx
    County, New York.
 13. Plaintiff Roy Welsh is an adult, English-speaking Caucasian male who resides in New Orleans,
    Louisiana. Plaintiff Welsh is Jewish, and he is religiously observant.
 14. Plaintiff Carlos Palaguachi is an adult, Spanish Speaking Latinx male who resides in Bronx
    County, New York.
 15. Plaintiff Warren Payne is an adult, English-speaking African American male who resides in
    Kings County, New York.
 16. Plaintiff Robert Santiago is an adult, English, and Spanish-speaking male who resides in Kings
    County, New York.
 17. Plaintiff Ahmed Radwan is an adult, English, and Arabic-speaking male who resides in Kings
    County, New York.

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 18. Plaintiff Murray was employed by Defendant United Parcels Service from approximately
    January 4, 2003, to October 8, 2018.
 19. Plaintiff Moyle was employed by Defendant United Parcels Service from approximately July
    9, 2012, to August 21, 2019.
 20. Plaintiff Welsh was employed by Defendant United Parcels Service from approximately June
    26, 2016, until July 20, 2019.
 21. Plaintiff Palaguachi was employed by Defendant United Parcels Service from approximately
    October 2017 until May 2018.
 22. Plaintiff Payne was employed by Defendant United Parcels Service from approximately
    August 2017 until June 2018.
 23. Plaintiff Radwan was employed by Defendant United Parcels Service from approximately July
    2018 until October 1, 2018.
 24. Plaintiff Santiago was employed by Defendant United Parcels Service from approximately
    April 7, 2014, until October 18, 2020.
 25. Plaintiff Payne consents to be a party plaintiff according to N.Y. CLS CPLR § 901, and brings
    these claims based upon the allegations herein as a representative party of a prospective class
    of similarly situated individuals under N.Y. CLS CPLR § 901.


                                             Defendants
 26. Defendant Corporation owns, operates, or controls a package delivery service business at all
    relevant times, located at 10401 Foster Avenue, Brooklyn, NY 11236 under the name “United
    Parcel Service, Inc.”
 27. Defendant William Grey is a Business Manager at Defendant Corporation. He is also the
    former supervisor of Plaintiff Murray. As the Business Manager, William Grey has an
    ownership interest in Defendant corporation through its management benefits plan.
    Additionally, William Grey can hire and fire. He directed the actions of his employees
    (including Mr. Murray), and he set their schedules.
 28. Defendant Chance Stewart is a District Manager of Defendant Corporation. He is also the
    former supervisor of Plaintiff Moyle. As the District Manager, Chance Stewart has an
    ownership interest in Defendant corporation through its management benefits plan.



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    Additionally, Chance Stewart can hire and fire. He directed the actions of his employees
    (including Mr. Moyle), and he set their schedules.
 29. Defendant Lloyd Hall is a Business Manager at Defendant Corporation. He is also the former
    supervisor of Plaintiff Welsh. As the Business Manager, Lloyd Hall has an ownership interest
    in Defendant corporation through its management benefits plan. Additionally, Lloyd Hall
    could hire and fire. He directed the actions of his employees (including Mr. Welsh), and he set
    their schedules.


                          COLLECTIVE ACTION ALLEGATIONS
 30. Plaintiff Payne, Plaintiff Radwan, Plaintiff Santiago and Plaintiff Palaguachi (collectively,
    “NYLL Collective” or “NYLL Class”) bring the First Cause of Action, an NYLL claim, on
    behalf of themselves and all similarly situated persons who work or have worked as Delivery
    Drivers for Defendant Corporation who elect to opt-in or waives their right to opt-out of this
    action.
 31. Defendants are liable under the NYLL for, among other things, failing to compensate the
    NYLL Collective adequately.
 32. Upon information and belief, consistent with Defendants’ policies and patterns or practices,
    NYLL Collective was not paid the proper premium overtime compensation of one and a half
    times their regular rates of pay for all hours worked beyond 40 hours per workweek.
 33. Upon information and belief, all of the work the NYLL Collective has performed has been
    assigned by Defendant, and Defendant has been aware of all of the work that Plaintiff and the
    NYLL Collective have performed.
 34. Upon information and belief, as part of their regular business practice, Defendant has
    intentionally, willfully, and repeatedly engaged in a pattern, practice, and policy of violating
    the NYLL concerning the NYLL Collective. This policy and pattern or practice include, but is
    not limited to, willfully failing to pay their employees, including the NYLL Collective, proper
    premium overtime wages for all hours worked more than 40 hours per workweek.




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                                 CLASS ACTION ALLEGATIONS1
 35. The NYLL collective brings the NYLL claims under N.Y. CLS CPLR § 901, on behalf of
     themselves and a class of persons consisting of:
               All persons who work or have worked as delivery drivers for Defendant
               Corporation in New York State between 2014 and the date of final judgment in this
               matter (the “Rule 901 Class” or “NYLL Collective”).
 36. The Rule 901 Class Members are so numerous that joinder of all members is impracticable,
     and the disposition of their claims as a class will benefit the parties and the Court.
 37. Plaintiff’s claims are typical of those claims that any Rule 901 Class Member could allege, and
     the relief sought is typical of the relief which would be sought by each Rule 901 Class Member
     in separate actions.
 38. Plaintiffs and the Rule 901 Class Members have all been injured in that they have been
     uncompensated or under-compensated due to Defendants' standard policies, practices, and
     patterns of conduct. Defendants' corporate-wide policies and practices affected all Rule 901
     Class Members similarly, and Defendants benefited from the same type of unfair and wrongful
     acts as to each of the Rule 901 Class Members.
 39. Plaintiffs can fairly and adequately protect the Rule 901 Class Members' interests and have no
     interests antagonistic to the Rule 901 Class Members.
 40. Plaintiffs are represented by attorneys who are experienced and competent.
 41. A class action is superior to other available methods for the fair and efficient adjudication of
     the controversy – particularly in the context of wage and hour litigation where individual class
     members lack the financial resources to prosecute a lawsuit against corporate defendants
     vigorously. Class action treatment will permit many similarly situated persons to prosecute
     their common claims in a single forum simultaneously, efficiently, and without the
     unnecessary duplication of efforts and expense that numerous individual actions engender.
 42. Common questions of law and fact exist as to the Rule 901 Class that predominate over any
     questions only affecting Plaintiff’s and the Rule 901 Class Members individually and include,
     but are not limited to, the following:




 1
  The NYLL clearly states that for employees who are exempt from the FLSA under the Motor Carrier Exemption,
 employers must provide overtime compensation at a rate of one and one-half times the minimum wage. Hayward v.
 IBI Armored Servs., 954 F.3d 573, 576 (2d Cir. 2020).

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        a. Whether Defendants failed to compensate the Rule 901 Class for all hours worked at
            their regular rate(s) of pay;
        b. Whether Defendants failed to compensate the Rule 901 Class for hours worked more
            than 40 per workweek;
        c. Whether Defendants failed to furnish the Rule 901 Class with accurate statements with
            every payment of wages, as required by the NYLL;
        d. The nature and extent of the class-wide injury and the measure of damages for those
            injuries.


                                   FACTUAL ALLEGATIONS
                               Defendants Constitute Joint Employers
 43. Upon information and belief, Defendant Corporation and Individual Defendant’s operate a
    package delivery service in New York City, in Brooklyn, Manhattan, and the Bronx.
 44. Upon information and belief, Defendant Corporation and Individual Defendant’s act in the
    interest of itself concerning employees, pay employees by the same method and share control
    over the employees.
 45. Upon information and belief, Defendant Corporation and Individual Defendant’s possessed
    substantial control over Plaintiff’s, and other similarly situated employees, working conditions,
    and over the policies and practices concerning the employment and compensation of Plaintiff’s
    and all similarly situated employees, referred to herein.
 46. Upon information and belief, Defendant Corporation and Individual Defendant’s employed
    Plaintiff’s, and all similarly situated employees, and are Plaintiff’s, and other similarly situated
    employees, employers within the meaning of N.Y. CLS CPLR § 901et seq. and the NYLL.
 47. In the alternative, Defendant constitutes a single employer of Plaintiff’s and all similarly
    situated employees.
 48. Upon information and belief, at all relevant times, Defendants were Plaintiff’s employer within
    the meaning of the NYLL. Defendants had the power to hire and fire Plaintiffs, controlled the
    terms and conditions of employment, and determined the rate and method of any compensation
    in exchange for Plaintiff’s services.




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                                        Individual Plaintiff
 49. Plaintiff Murray is a former employee of Defendants who was employed as an On-Road
    Supervisor. With over 15 years of experience working for UPS (first as a driver and ending as
    an On-Road supervisor), Plaintiff Murray is more than qualified to have worked as an On the
    Road Supervisor.
 50. According to the Job Posting for On-Road Supervisor on UPS job site, the following "Duties"
    are required:
       a. Must be a U.S. Citizen or National of the U.S., an alien lawfully admitted for permanent
           residence, or an alien authorized to work in the U.S. for this employer,
       b. Must be currently located in the exact geographic location as the job or willing to
           relocate yourself,
       c. Must have experience identifying customer needs,
       d. Must be able to deliver packages and demonstrate,
       e. Previous driving experience required,
       f. Must be at least 21 years of age,
       g. Knowledge of GTS and SEAS,
       h. Must be able to perform observations,
 51. When he became an On-Road supervisor, Plaintiff Murry was a UPS delivery driver for five
    months, satisfying the driving, package delivery, customer needs, GTS and SEAS, and
    observations experience requirement On-Road Supervisor. Plaintiff Murray is currently 40
    years old, which means he was well over 21 years old when he assumed the On-Road
    Supervisor role. As a US citizen who resides in Westchester County at the time of his
    employment, Plaintiff Murray satisfied the US citizen and geographic location requirements
    for an On-Road Supervisor.
 52. Plaintiff Moyle is a former employee of Defendants who was employed as a Business Manager.
    With over seven years of experience working for UPS, first as a package delivery driver (7
    months), then as an On-Road-Supervisor (3 years), and ending as a Business Manager. Plaintiff
    Moyle is more than qualified to have worked as a Business Manager for UPS.
 53. Plaintiff Welsh is a former employee of Defendants who was employed as an On-Road-
    Supervisor. With over three years of experience working for UPS first as a driver (1 month)
    and ending as an on the road supervisor, Plaintiff Welsh is more than qualified to have worked
    as an On-Road Supervisor.
 54. When he became an On-Road supervisor, Plaintiff Welsh was a previous UPS delivery driver
    for one month, satisfying the driving, package delivery, customer needs, GTS and SEAS, and


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    observations experience requirement for On-Road Supervisor. Plaintiff Welsh is currently 36
    years old, which means he was well over 21 years old when he assumed the On-Road
    Supervisor role. As a US citizen who resided in NYC at the time of his employment, Plaintiff
    Welsh satisfied the US citizen and geographic location requirements for an On-Road
    Supervisor.
 55. Plaintiff Palaguachi, Plaintiff Santiago, Plaintiff Radwan and Plaintiff Payne are former
    employee of Defendants who was employed as a delivery driver.
 56. According to UPS's Jobsite, the job description for Delivery Drivers is as follows:
         "This is a physical, fast-paced, outdoor position that involves continual lifting, lowering,
         and carrying packages that typically weigh 25 - 35 lbs. and may weigh up to 70 lbs. A DOT
         physical exam is required. Package Delivery Drivers must have excellent customer contact
         and driving skills. Some UPS facilities may require the ability to drive a delivery vehicle
         with a standard (manual) transmission. Qualified applicants must have a valid driver's
         license issued in the state that they live. Package Delivery Drivers are expected to comply
         with UPS appearance guidelines and wear the company-provided uniform.”
 57. Plaintiff Payne, Plaintiff Santiago, Plaintiff Radwan and Plaintiff Palaguachi were more than
    qualified to work as package delivery drivers. They are capable of lifting packages that weigh
    between 25-35 lbs; they have drivers' licenses in New York, they possessed excellent customer
    service, and they possessed the ability to drive a delivery vehicle with a standard transmission.
 58. Plaintiff Palaguachi, Plaintiff Santiago, Plaintiff Radwan and Payne seek to represent a class
    of similarly situated individuals under N.Y. CLS CPLR § 901.


                                          Plaintiff Murray
 59. Plaintiff Murray was employed by the Defendants from approximately January 4, 2003, until
    October 8, 2018. Defendants employed Plaintiff Murray as an On-Road supervisor.
 60. Plaintiff Murray’s work duties required neither discretion nor independent judgment. Plaintiff
    Murray regularly worked more than forty (40) hours per week throughout his employment with
    Defendants.
 61. Plaintiff Murray is a whistleblower who raised concerns of gender and race-based wage
    discrimination, Department of Transportation (DOT) violations, massive overtime theft of the
    delivery drivers, and other abuses by UPS management and Beverly – Human Resource
    Manager.




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 62. Plaintiff Murray sustained substantial psychological and monetary injuries due to the hostile
    work environment he was subjected to while an employee of UPS by his former
    manager/Supervisor, William Grey, and UPS senior management.
 63. Plaintiff Murray has firsthand knowledge of UPS violating the US Department of Labor and
    NYS Department of Labor’s wage and hour laws.


       WILLIAM GREY COMMITS DOT VIOLATIONS AND OVERTIME THEFT
 64. Plaintiff Murray is prepared to prove that William Grey (Mr. Murray's former
    manager/supervisor) and UPS senior management stole hundreds of hours of overtime from a
    class of drivers. The evidence will show that many drivers start work at 7 am, or 9 am, and
    they punch out at 10 pm or 11 pm. That is an average of 10 to 16 hours a day. In a 5-day work
    week, these drivers work an average of 50 to 80 hours a week. Many of these drivers work six
    days a week, which brings their hours into the mid-'80s and '90s. These hours are not reflected
    on their paychecks.
 65. Plaintiff Murray has evidence of some drivers working 15 to 18-hour shifts. These hours were
    not reflected on the driver’s paychecks.
 66. Plaintiff Murray is prepared to reveal the scheme that William Grey and UPS senior
    management instructed the On-Road-Supervisors to execute as it pertains to stealing overtime
    hours from the delivery drivers.
 67. Upon information and belief, Plaintiff Murray is prepared to reveal how managers and
    supervisors would go into the GTS (Global Timecard System) and change the delivery drivers'
    punch-in and punch-out times. This illegal act reduces the driver's daily and weekly hours
    worked. The drivers would then beg and plead with the On-Road-Supervisor (Mr. Murray),
    who would then beg and plead with William Grey to pay the drivers their missing wages.
    Unfortunately, due to William Grey's denials, the payments never came.
 68. Upon information and belief regarding the DOT violations, Plaintiff Murray has evidence to
    show countless hours of DOT hour manipulation. The stolen time is a pattern and practice of
    the company and its management team to manipulate the DOT rules and regulations.
 69. Upon information and belief, William Grey and other senior managers knowingly and willfully
    require the class and Mr. Murray and On-Road-Supervisors or work beyond their allotted DOT
    hours.

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 70. Upon information and belief, in addition to the DOT violations of the delivery drivers, William
    Grey and UPS senior management violated the DOT hours of Mr. Murray and other On-Road-
    Supervisors as well.
 71. Upon information and belief, On-Road-Supervisors do not punch in or punch out. Their DOT
    hours are untraceable; therefore, the On-Road supervisors are subjected to abuse by William
    Grey and the UPS senior management. On-Road supervisors often work 15-18-hour shifts.


           PLAINTIFF MURRAY IS A VICTIM OF WAGE DISCRIMINATION
 72. Upon information and belief, in addition to his firsthand knowledge of UPS's DOT violations
    and the overtime theft committed against the delivery drivers, Mr. Murray was a victim of
    wage discrimination.
 73. Upon information and belief, Mr. Murray earned an $80,000.00 base salary as an on the road
    supervisor, while his Caucasian male counterpart, Patrick Scanlon ("Scanlon"), earned over
    $100,000.00 base salary. Mr. Murray trained Scanlon when Scanlon began his career at UPS.
 74. Upon information and belief, Mr. Murray was just as qualified as Scanlon (if not more
    qualified) for On-Road-Supervisor's position. As previously stated, Mr. Murray has over 15
    years of experience working for UPS in many positions, while Scanlon’s only qualification
    was being white.
 75. Upon information and belief, when Mr. Scanlon was hired, he was a new driver trainee.
    According to the UPS's policy, new driver trainees are on probation and must stay accident-
    free. While in training, Mr. Scanlon ran into Mr. Murray's vehicle while Mr. Murray's vehicle
    was parked on the street. Mr. Scanlon was not fired or reprimanded by UPS. UPS instructed
    Mr. Murray not to make a “big deal” about the accident and intimidated him out of contacting
    his insurance carrier. Murray was left with thousands of dollars’ worth of damage to his
    vehicle. Damages that still exist today.
        a. Mr. Murray informed William Grey about the accident and the damage to his vehicle.
           Mr. Murray asked William Grey to call the insurance carrier and report the accident,
           and William Grey refused. William Grey told Mr. Murray that he did not want any
           accidents reported on the balanced scorecard. He warned Mr. Murray against reporting
           the accident to his insurance carrier, citing that Mr. Murray's insurance carrier would
           contact UPS resulting in a negative hit to the balanced scorecard.
        b. William Grey threatened Mr. Murray's job and reminded him about what happens to
           employees who make a "big deal" of accidents. He instructed Mr. Murray to “work
           something out” with Scanlon.

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        c. As a result of William Grey's threat and out of fear of losing his job, Mr. Murray did
           not contact his insurance carrier or UPS's insurance carrier. Unfortunately for Mr.
           Murray, he attempted to secure payment from Scanlon, and Scanlon never paid.
        d. As was the case with accident coverups, William Grey required Mr. Murray to work
           "magic" with the vehicle's accident. Unfortunately for Mr. Murray, he was not able to
           work magic after Scanlon hit his vehicle. Mr. Murray was left holding the bag.
 76. Upon information and belief, Mr. Murray's vehicle was not the only vehicle Scanlon hit.
    Throughout his time with UPS, Scanlon ran into several vehicles. None of the accidents were
    ever reported to the insurance carrier by UPS. With this track record, one would assume that
    Scanlon would be out of a job, but you don't get fired when you're Caucasian and male. You
    get promoted within UPS.
 77. Upon information and belief, shortly after joining the company and crashing into several cars,
    Scanlon was promoted by UPS to On-Road-Supervisor.
 78. Upon information and belief, in addition to Scanlon, Mr. Murray was compensated less than
    Roy Welsh, Carl Lucateli, Joseph Simeone, and Robert "Bob" Walsh. These individuals were
    all Caucasian, they were all On-Road-Supervisors when Mr. Murray was employed with UPS
    (several of them survived Mr. Murray’s tenure at UPS), and they all possessed the same skills
    and knowledge that Mr. Murray had when he assumed the role as On-Road Supervisor.
 79. Upon information and belief, as an On-Road-Supervisor, there is no difference between the
    job descriptions, duties, or requirements for Scanlon, Roy Welsh, Carl Lucateli, Joseph
    Simeone, Robert “Bob” Walsh, or Mr. Murray.


         MR. MURRAY WAS TERMINATED FOR BEING A WHISTLEBLOWER
                 AND RAISING CONCERNS OF RACE DISCRIMINATION
 80. In the act of retaliation for being a whistleblower and for raising claims of race discrimination,
    Mr. Murray was terminated for exposing the activities of William Grey and UPS senior
    management during an investigation on or about august to September 2018 surrounding a
    failed car accident coverup which William Grey orchestrated.
        a. Upon information and belief, during the investigation, Mr. Murray provided Beverly
            (HR manager of the 43rd Street Manhattan, NY location) with printed screenshots of
            text messages concerning the unpaid overtime and straight time hours of delivery
            drivers. Example of Screenshots provided:



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               i. On or about August 17, 2017 at 9:05 am, a driver named Blackmon, sent Mr.
                  Murray a text messages of a screenshot of the time that was reduced from his
                  timecard. His timecard reflected that he worked over 70 hours for the week, yet
                  William Grey went into the GTS and reduced his hours to 57:13.
              ii. On or about November 7, 2017 at 7:18 pm Driver Li sent Mr. Murray a text
                  message stating the following: Are u able to fix my time from Saturday? I
                  started at 9 and left 8:21 pm.”
            iii. On or about December 11, 2017 at 7:11pm, a driver named Creed sent Mr.
                  Murray a text message stating the following: “Was Thursday 8th 7:00 to 21:47”.
                  Creed followed up 2 days later on December 13, 2017 at 11:31am stating the
                  following: “Let me know if u can fix me hrs if not I’ll go to willi (referring to
                  William Grey).
             iv. On or about May 3, 2018 and May 4, 2018 at 7:44 pm and 1:35 pm Driver Scott
                  sent Mr. Murray a text message stating “please fix my time” and “please fix my
                  hrs dude”.
              v. On or about May 5, 2018, at 3:59 pm, Driver Qualis Townsend sent Mr. Murray
                  the following text message: “can you fix my hours in from yesterday” and at
                  4:01 pm, “smh they didn’t put my hours in from the road yesterday”.
             vi. On or about November 10, 2017 at 7:15 pm, Driver Pritchard sent Mr. Murray
                  the following text message: “Good morning Fari. This is Pritchard. Listen
                  Tuesday the 7th is still in unresolved. It is showing as a schedule day off. Please
                  help me. Thank you.” This driver worked on this day and his whole timecard
                  was deleted and was set up as if he had the day scheduled off not to work.
            vii. On or about October 27, 2017 and November 9, 2017 at 8:50 am and 8:35 am,
                  Driver Harris Solomon sent the following text messages to Mr. Murray: “10-25
                  (Wednesday) Im missing 2 hours I worked from 9:00am-8:30pm” and
                  “Wednesday 9:00-6:15 pm, checked timecard its 6 hours……pls correct”.
           viii. On or about August 24, 2018, Mr. Murray received a text message from Oleg
                  Gezner concerning his hours worked and his missing overtime. The message
                  said: “Mon, Aug 20/18 8:20 AM -10:40 PM; Tue, Aug 21/18 8:40 AM – 11:13
                  PM, Wed, Aug 22/18 8:40 AM – 11:34 PM; and Thu, Aug 23/18 8:40 AM-9:29
                  PM. In 4 days this driver worked nearly 54 hours. This driver was only paid for
                  40 hours.
                      1. A day later the driver sent a follow-up message to Mr. Murray, “and
                          take a look at my timecard before it is to late”. Don’t forget to change
                          my timecard when u get a chance”.
             ix. On or about September 26, 2018 at 3:36 pm, Mr. Murray received a text
                  message from Driver Jackson: “fix my timecard from yesterday 8:40-730pm”.
                  This was never fixed.
              x. On or about August 22, 2018 at 12:02pm, Creed sent Mr. Murray a text stating
                  the following: “Don’t forget to put in the ½ hr u owe me”. Creed followed up
                  on August 24, 2018 at 8:34pm stating the following: “did u put that ½ hr u owe
                  me”.
             xi. On or about September 28, 2017 at 9:43 pm, Mr. Murray received the following
                  text message from Driver Rose Sheldon: “Farah please don’t forget to put my
                  hours in 9am 2027 thx”.

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            xii. On or about May 7, 2018 at 8:48am, Mr. Murray received the following text
                 message from a UPS driver: “did u take care of the hr u owe me for last week”
           xiii. On or about February 19, 2018 at 12:30 pm, Mr. Murray received the following
                 text message from UPS driver Creed: “I need u to change my timecard for last
                 Thursday I started at 7:00 someone change it to 7:50”. At 8:00 pm Creed
                 followed up with the following: “Today is the last day to correct it so it comes
                 on this week check.”
            xiv. On or about January 18, 2018 at 1:14pm, Mr. Murray received the following
                 text message from Creed: “did u put in my missing hrs?” Four days later on
                 January 19, 2018 at 11:19 am, Creed followed up with the following: “Don’t
                 forget me with some help”. Mr. Murray responded, “Can only add 1 hour”.
                 Creed replied, “so add 1 hour a week then”.
             xv. On or about October 23, 2017 at 10:19 am, Mr. Murray received the following
                 text message from UPS driver Clarke Anthony: “I got paid time only for 2 days
                 and I finished my assignment on both days I didn’t take lunch those days I
                 spoke to Willie.”
            xvi. On or about July 21, 2018 at 8:37 pm, Mr. Murray received the following text
                 message from UPS driver Cece: “Hey.. This dumb chick never put in my hour
                 the last few times I worked I’ve been looking for her but she don’t be in..” At
                 8:38pm Cece followed up with the following: “The way she talking to me right
                 now I’m about to come there and drag her Fari” Mr. Murray responded, “I’ll
                 take care if it when did u finish”. Cece responded, “After 7:30 I think ask Lara”
                 “thanks you’re the best”.
           xvii. On or about May 2, 2018 at 7:08 pm, Mr. Murray received the following text
                 message from UPS driver Calix: “you never put that time in for me boss”.
          xviii. On or about July 27, 2018 at 11:06 am Mr. Murray received a text message
                 from Driver McKenzie: “Plz remember to put the 1:15mins back for me”
            xix. On or about May 16, 2018 at 3:29 pm Mr. Murray received the following text
                 message from Driver Mchchearan: “Remember to fix my time”.
             xx. On or about April 4, 2017 at 10:18 am, Mr. Murray received a text message
                 from Driver Lara: “Yo don’t forget about my 3 hours.”
            xxi. On or about September 11, 2017 at10:02 am, Mr. Murray received a text
                 message from Driver Emile: “Please don’t forget my timecard. Mon: holiday
                 pay, Tues: 8:10-8:12, Wed: 8:40-8:36, Thurs: 8:40-10:44, Fri: oph 8hrs.”
           xxii. On or about September 20, 2018 at 2:03 pm, Mr. Murray received a text
                 message from Eli Fernandez: “Kara said she doesn’t see the hours on her check
                 for the last 2 days as helping.”
          xxiii. On or about May 14, 2018 at 7:26 pm, Mr. Murray received a text message
                 from Driver Darling: “the adjustment is 41 minutes or .68 clicks from Monday
                 last week thank you.”




                                              14
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         b. Upon information and belief, during the investigation, Mr. Murray provided Beverly
             photos showing that On-Road Supervisors and drivers are required to deliver packages
             with their vehicles while not being compensated for their mileage or gas.2
         c. Upon information and belief, during the investigation, Mr. Murray provided Beverly
             details of the discriminatory and unfair treatment of Latinx, African American, and
             Indian delivery drivers compared to the Caucasian drivers.
               i. Upon information and belief, Mr. Murray provided examples of Driver
                  Ramkishun (Indian) and Driver Acosta (Latinx) who got into an accident while
                  delivering packages. William Grey and UPS senior management decided to
                  terminate Driver Ramkishun and Driver Acosta while covering up the
                  numerous accidents that Scanlon, a Caucasian driver who (while on probation)
                  got into several automobile accidents while driving the UPS truck, was not
                  terminated for his woeful driving, but was promoted to On-Road Supervisor
                  instead. Regrettably, Mr. Murray noted that he believed that the only
                  justification for this apparent discrepancy in treatment is that Driver Ramkishun
                  and Driver Acosta are Indian and Latinx, while Scanlon is Caucasian.
         d. Upon information and belief, during the investigation, Mr. Murray provided Beverly
             details of the discriminatory and unfair treatment of Latinx, and African American On-
             Road Supervisors compared to the Caucasian On-Road Supervisors. UPS engages in
             redlining-like practices to keep black and brown employees in less favorable
             neighborhoods.
                   i. Upon information and belief, Mr. Murray provided the following examples of
                      William Grey and UPS senior management patterns and consistently denying
                      African Americans on the road supervisors' request to transfer out of their
                      location. In denying these transfer requests, William Grey and UPS senior
                      management stated that these employees "Fit" the demographics of their current
                      coverage area.3 Better.
                  ii. Upon information and belief, Mr. Murray provided the specific example of
                      Orane Sewell (an African American male) who was denied a transfer request
                      to Pennsylvania. A Caucasian male named Alex Gorza with less experience and
                      qualifications made the same transfer request, and it was granted.
                 iii. Upon information and belief, Mr. Murray provided another example of
                      Malcolm (an African American male) who made a transfer request denied,
                      while a Caucasian male named Brian Pollard, who was less qualified and less
                      experienced, made the same request a few weeks later and it was granted.

 2
   On Wednesday, October 28, 2020, at approximately 2:24 pm, this writer witnessed a UPS package delivery guy
 delivering packages out of a "Rent Me! @ Empire Rent A Car" mini truck with a NYS license plate # 25375MJ. This
 was not a UPS issued vehicle, and the package delivery man was wearing a UPS uniform. Photographs can be
 provided. Mr. Murray is prepared to present the photos he gave to Beverly to this Court.
 3
   Their coverage area is predominantly African American. Their coverage area is comprised of housing projects,
 narrow, poorly kept streets, and are full of violence.

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                 iv. Upon information and belief, Mr. Murray noted that he believed that the only
                     justification for this apparent discrepancy in treatment is that Malcolm and
                     Orane Sewell are African American, while Alex Gorza and Brian Pollard are
                     Caucasian.
            e. Upon information and belief, Mr. Murray provided Beverly details of his claims of
                discrimination during the investigation. Mr. Murray pointed out that he was paid less
                than all of his Caucasian counterparts who are On-Road Supervisors (Patrick Scanlon,
                Roy Welsh, Carl Lucateli, Joseph Simeone, and Robert “Bob” Walsh). Regrettably,
                Mr. Murray noted that he believed that the only justification for this apparent
                discrepancy in compensation is that Mr. Murray is African American, and his
                colleagues are all Caucasian. Mr. Murray learned of the salary difference through
                conversations with the comparators.
                     i. Mr. Murray also pointed to the fact that he was required to deliver packages out
                         of his vehicle4 and was never compensated for his time, gas, or milage.
                    ii. On or about March 30, 2018, at 5:50 pm, Mr. Murray texted William Grey the
                         following: "My expense account? last month, never got approved n now this
                         month". William Grey responded, "I approved" "Unless John didn't. resubmit".
                         William Grey then said, "call me." When Mr. Murray called him, William Grey
                         chastised him for putting this request in text messaged and informed him that
                         they stopped approving the expense report because they were over budget.
 81. Upon information and belief, Mr. Murray has evidence that many Caucasian On-Road
       Supervisors and division managers commit egregious and ethically flawed acts. Actions that
       UPS senior management and William Grey were aware of. These Caucasian On-Road
       supervisors and division managers have never been terminated. They were either reassigned to
       a different location or transferred to different areas or buildings.
 82. Upon information and belief, Mr. Murray has raised concerns to UPS Human Recourses
       concerning William Grey and UPS senior managements acts of workplace intimidation, which
       are used to quash DOT violation complaints on behalf of the On-Road-Supervisors who were
       working 17 hour shifts.




 4
     Photos can be provided.

                                                      16
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            a. These On-Road-Supervisors would be required to work a 17-hour shift, return home,
                get a handful of hours of sleep, and then return to work for an in-person meeting or
                another shift.
            b. In the case of Plaintiff Murray, on several occasions, after working a 17-hour shift, he
                would be sleeping on himself while driving on the highway heading home to
                Westchester, NY, or returning to work at the UPS facility in Brooklyn, NY. This drive
                typically takes Mr. Murray over an hour to complete in either direction. This was a
                clear and present danger to Mr. Murray and the public's health and safety at large. Mr.
                Murray was not the only On-Road Supervisor that complained about this. William Grey
                did not care about Mr. Murray's concerns, and he demanded that he showed up to work
                for the shifts or the meetings. Mr. Murray raised these concerns to Beverly.
            c. According to the Federal Motor Carrier Safety Administration5 (“FMCSA”):
                                         Summary of Hours-of-Service Regulations
                The table summarizes the HOS regulations for property-carrying and passenger-carrying drivers.
                HOURS-OF-SERVICE REGULATIONS
                PROPERTY-CARRYING DRIVERS                                     PASSENGER-CARRYING DRIVERS
                11-Hour Driving Limit                                         10-Hour Driving Limit
                May drive a maximum of 11 hours after 10                      May drive a maximum of 10 hours after 8
                consecutive hours off duty.                                   consecutive hours off duty.
                14-Hour Limit                                                 15-Hour Limit
                May not drive beyond the 14th consecutive                     May not drive after having been on duty for 15
                hour after coming on duty, following 10                       hours, following 8 consecutive hours off duty.
                consecutive hours off duty. Off-duty time does                Off-duty time is not included in the 15-hour
                not extend the 14-hour period.                                period.
                30-Minute Driving Break
                Drivers must take a 30-minute break when
                they have driven for a period of 8 cumulative
                hours    without    at   least   a    30-minute
                interruption. The break may be satisfied by
                any non-driving period of 30 consecutive



 5
     https://www.fmcsa.dot.gov/regulations/hours-service/summary-hours-service-regulations

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          The table summarizes the HOS regulations for property-carrying and passenger-carrying drivers.
          HOURS-OF-SERVICE REGULATIONS
          minutes (i.e., on-duty not driving, off-duty,
          sleeper berth, or any combination of these
          taken consecutively).
          60/70-Hour Limit                                         60/70-Hour Limit
          May not drive after 60/70 hours on duty in 7/8           May not drive after 60/70 hours on duty in 7/8
          consecutive days. A driver may restart a 7/8             consecutive days.
          consecutive day period after taking 34 or more
          consecutive hours off duty.
          Sleeper Berth Provision                                  Sleeper Berth Provision
          Drivers may split their required 10-hour off-            Drivers using a sleeper berth must take at least 8
          duty period, as long as one off-duty period              hours in the sleeper berth and may split the
          (whether in or out of the sleeper berth) is at           sleeper berth time into two periods provided
          least 2 hours long and the other involves at             neither is less than 2 hours. All sleeper berth
          least 7 consecutive hours spent in the sleeper           pairings MUST add up to at least 10 hours.
          berth. All sleeper berth pairings MUST add up
          to at least 10 hours. When used together,
          neither time period counts against the
          maximum 14- hour driving window.
          Adverse Driving Conditions                               Adverse Driving Conditions
          Drivers are allowed to extend the 11-hour                Drivers are allowed to extend the 10-hour
          maximum driving limit and 14-hour driving                maximum driving time and 15-hour on-duty limit
          window by up to 2 hours when adverse driving             by up to 2 hours when adverse driving conditions
          conditions are encountered.                              are encountered.
          Short-Haul Exception                                     Short-Haul Exception
          A driver is exempt from the requirements of              A driver is exempt from the requirements of
          §395.8 and §395.11 if: the driver operates               §395.8 and §395.11 if: the driver operates within
          within a 150 air-mile radius of the normal               a 150 air-mile radius of the normal work
          work reporting location, and the driver does             reporting location, and the driver does not exceed
          not exceed a maximum duty period of 14                   a maximum duty period of 14 hours. Drivers
          hours. Drivers using the short-haul exception            using the short-haul exception in §395.1(e)(1)
          in §395.1(e)(1) must report and return to the            must report and return to the normal work

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                 The table summarizes the HOS regulations for property-carrying and passenger-carrying drivers.
                 HOURS-OF-SERVICE REGULATIONS
                 normal work reporting location within 14                          reporting location within 14 consecutive hours
                 consecutive hours and stay within a 150 air-                      and stay within a 150 air-mile radius of the work
                 mile radius of the work reporting location.                       reporting location.


            d. Plaintiff Murray and the other On-Road-Safety managers were not afforded the rights
                 to follow the summary of hours safety regulations provided by the FMCSA.
 83. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
        management engaging in workplace intimidation of supervisors by threatening to write them
        up and terminate them if they did not use their vehicles to deliver UPS packages. On-Road
        supervisors' use of their vehicles to deliver packages is a violation of the collective bargaining
        agreement.
            a. Upon information and belief, on a group text with the On-Road Supervisors discussing
                 the shortage of delivery trucks, William Grey says the following: “what about the cars
                 at the other end.” (meaning the employee parking lot). Orane Sewell, one of On-Road
                 Supervisor, replied, "y don’t u guys get cars earlier? We sent out nine drivers in their
                 cars. Now at 12 pm, we're taking out stragglers.6.”
 84. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
        management engaging in workplace intimidation of the truck delivery drivers and threatening
        to fire them if they complained about the overtime theft they experienced when they worked
        15 to 17-hour days.
 85. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
        management engaging in workplace intimidation of the package truck drivers and supervisors
        by forcing the package truck drivers to pay out of pocket for car accidents instead of reporting
        the accidents to UPS insurance carrier. This is one of many forms of unjust enrichment
        orchestrated by UPS.




 6
     When there are stragglers (leftover packages), the supervisors have to deliver the packages out of their vehicles.

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                   WILLIAM GREY COVERED UP ACCIDENTS AND INJURIES:
 86. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
        management engaging in workplace intimidation of the supervisors by failing to report
        countless automobile accidents 7 and forcing them to manipulate the accident scenes to
        decrease the company's insurance liability. For example:
        a. In a text message, William Grey instructed Mr. Murray to move the UPS vehicle into
           the middle of the block, by saying "make it more in the middle of the street." This is
           important because the insurance carrier charges UPS more for accidents in the
           intersection than in the middle of the block.
        b. On or about January 8, 2018, at 9:37 am, Mr. Murray received the following text
           message from William Grey: "Call me ASAP." Mr. Murray called William Grey at
           9:41 am. They spoke for several minutes, and William Grey provided Mr. Murray with
           the address to an accident scene. At 10:16 am, William Grey asked Mr. Murray, "are u
           there." At 10:17 am, Mr. Murray responded, "No 7 mins". At 10:18 am, William Grey
           responded, "Magic" (which is code for coverup).
        c. On or about October 2, 2017, at 8:26 pm near Avenue J and E 5th Street in Brooklyn,
           NY, there was an accident with a UPS delivery truck in the intersection. William Grey
           instructed Mr. Murray to go to the screen of the accident and "work magic." William
           Grey did not report this accident.
        d. On or about March 1, 2018, at 3:22 pm, Willie Grey sent Mr. Murray the following text
           message: "try reg duty if possible and still work with him." "Thanks, and I can still give
           him off Monday. Will have comp # for meds later today, or in am." In this case, a driver
           got hurt, and William Grey is instructing Mr. Murray to get the doctor to put him on
           regular duty, so it does not come up as a lost-time injury, and they will give him off on
           Monday.
 87. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
        management engaging in workplace intimidation of the drivers and workers who were injured
        on the job by prohibiting them from visiting their doctors and forcing them to visit designated
        "company medical experts" who would misdiagnose them.
            a. On or about August 30, 2017, at 6:58 am, Mr. Murray received a text message from
               Driver Rose Sheldon: “Gm going to the hospital still limping ice didn’t work think I
               need some muscle relaxer?” Mr. Murray informed William Grey, and William Grey
               instructed him to stop the driver from going to the hospital. At 8:18 am, Mr. Murray
               sent a text message to the driver, "call me asap." During that call, Mr. Murray
               convinced the driver not to take workman's comp or medical leave. William Grey did
               not report this accident.
            b. On or about August 1, 2018, at 3:45 pm, Mr. Murray received a text message from
               Deshaun Davis. It was a text of an injury to Deshaun Davis suffered while on the job.
               William Grey prohibited Mr. Murray from filing an accident report, and instead, he
               instructed him to offer time off and the number to a "UPS friendly" doctor.

 7
     This is a clear danger to public health and safety.

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        c. On or about May 11, 2018, at 4:44 pm, Mr. Murray received a text message from Driver
            Reel, stating: "I'm taking a couple of mins to go get this cleaned up, Got caught on a
            city garbage can." This driver had a massive gash in his hand. This accident was not
            reported, and William Grey instructed Mr. Murray to take care of it, stopping the driver
            from seeking medical attention and going out on medical leave.
 88. Upon information and belief, William Grey would send On-Road-Supervisors with the drivers
    to his medical experts and have the experts downplay the severity of the injury and designate
    the worker to work on light or regular duty.
 89. On one occasion, via text message William Grey instructed Mr. Murray to coach an emergency
    room doctor to give the injured delivery driver a regular duty return to work status:
        a. On or about March 1, 2018 at 2:05 pm, Mr. Murray received the following text from
           William Grey: “Call me”. Mr. Murray called. They spoke for about 30 mins about an
           injured driver who would need medical attention, and possible medical leave. At
           3:21pm William Grey sent the following text message: “Did u understand”. At 3:22pm
           William Grey instructed Mr. Murray to get the Emergency doctor to provide the injured
           driver with “reg duty if possible…”. William Grey followed up at 3:24pm with “Thanks
           and can still give him off Monday. Will have comp # for Meds later today or in the
           am”.
 90. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
    management engaging in workplace intimidation of the supervisors and drivers by making
    them scan packages as if a valid delivery attempt was made to the package delivery address,
    when no attempt was made, to avoid a missed delivery.
 91. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
    management engaging in workplace intimidation of the drivers by making them implement a
    negligent “Driver Release” policy. This policy forces the drivers to leave packages in high-
    risk areas. Drivers are then terminated as a result of this policy if a package is stolen.
 92. Upon information and belief, Mr. Murray has evidence of William Grey and UPS senior
    management engaging in workplace intimidation by prohibiting the submissions of gasoline
    expense reports or change the gasoline expense reports submitted by the On-Road Supervisors.
    William Grey and UPS Management would also reduce the number of miles reported by the
    On-Road Supervisors to “look bad” on the expense reports. This is a clear act of unjust
    enrichment by UPS.




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                                          Plaintiff Moyle
 93. Mr. Moyle is a veteran of the United States Marine Corps. He fought in the Iraq war and
    proudly served this country (active duty) for over five years.
 94. Mr. Moyle was employed by the Defendants from approximately July 9, 2012, until August
    21, 2019. Defendants employed Mr. Moyle as a Business Manager.
 95. Mr. Moyle’s work duties required neither discretion nor independent judgment.
 96. Mr. Moyle is a whistleblower who raised concerns of document manipulation, fraudulent
    reporting of accidents, Department of Transportation (DOT) hours of service violations,
    massive overtime theft of the driver and other abuses by UPS management.
 97. Mr. Moyle sustained substantial psychological and monetary injuries due to the hostile work
    environment he was subjected to while an employee of UPS by his former manager, Chance
    Stewart, and UPS senior management.
 98. Mr. Moyle has firsthand knowledge of UPS violating the US Department of Labor’s wage and
    hour laws.
 99. Chance Stewart and UPS senior management stole hundreds of hours of overtime from a class
    of drivers. The evidence will show that many drivers start work at 7 am to 9 am, and they
    punch out at 10 pm 12 am. That is an average of 15 to 17 hours a day. In a 5-day work week,
    these drivers work an average of 65 to 75 hours a week. Many of these drivers work six days
    a week, which brings their hours into the mid-'80s and '90s. These hours are not reflected on
    their paychecks.
 100.   Mr. Moyle has evidence of some drivers working 17 to 18-hour shifts. These hours were
    not reflected on the driver’s paychecks.
 101.   Mr. Moyle is prepared to reveal the scheme that Chance Stewart and UPS senior
    management instructed the Business Manager to execute as it pertains to stealing overtime
    hours from the delivery drivers.
 102.   Mr. Moyle is prepared to reveal how managers and supervisors would go into the GTS and
    change the delivery drivers' punch-in and punch-out times. This illegal act reduces the driver's
    daily and weekly hours worked. The drivers would then have to beg and plead with their
    supervisors and managers to pay them for their time. Unfortunately for them, the payments
    never came.



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 103.   Upon information and belief regarding the DOT violations, Mr. Moyle has evidence to
    show countless hours of DOT hour manipulation. The stolen time is a pattern and practice of
    the company and its management team to manipulate the DOT rules and regulations.
 104.   Upon information and belief, Chance Stewart and other senior managers knowingly and
    willfully require the class and Business Managers to work beyond their allotted DOT hours.
 105.   Upon information and belief, over his 7-year career at UPS, Mr. Moyle was under constant
    pressure from his superiors, such as Chance Stewart, to engage in unethical and illegal
    activities to cheat workers, customers, and insurance carriers.
 106.   Upon information and belief, the mafia-like bullying tactics were not just used against Mr.
    Moyle, and it was used as a common tactic to get business done across the board. Mr. Moyle
    has evidence to prove that UPS bosses – throughout the organization, promote the falsification
    of company records to mislead customers, lower insurance premiums, and make their internal
    balanced scorecards look more favorable.
 107.   Upon information and belief, Mr. Moyle is prepared to demonstrate how UPS uses their
    shoddy and unethical business practices to discipline or discharge its employees at any time
    arbitrarily and for disguised reasons – such as age, disability status, race, or whether or not the
    individual is part of the “in-crowd.”
        a. For example, at the 43rd Street facility, Mr. Moyle is aware of a UPS manager named
           Gary Graham, both older and African American. His manager, Justin Laporte, did not
           like him.
 108.   Upon information and belief, Mr. Moyle heard Justin Laporte say the following regarding
    Gary Graham,
                           •   "Gary sucks. I can't wait to get rid of him,"
                           •   “He’s useless,”
                           •   "He's a waste," and
                           •   "Fuck that guy."
 109.   Upon information and belief, Gary Graham, a 30-year veteran of the company, was fired
    for hiding an injury/accident, something Justin Laporte instructed him to do, and an act Justin
    Laporte often does himself.




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         TOMMY FRANCIS FORCED MR. MOYLE TO COVERUP ACCIDENTS
 110.    Upon information and belief, Mr. Moyle worked for Tommy Francis when he first entered
    UPS and was a supervisor. Tommy Francis taught Mr. Moyle how to cover up crashes and
    injuries by often dispatching Mr. Moyle to the scene of a crash and asking Mr. Moyle to pay
    for minor damages with his own money.
 111.    Upon information and belief, Tommy Francis thought the number of crashes he covered
    up was amusing. Tommy Francis kept a little black book where he kept a log of all the injuries
    and accidents he covered up. Mr. Moyle knew that if he defied Tommy Francis, it would hurt
    his career. Tommy Francis required everyone that worked under him to cheat.


        UPS CHEATS CUSTOMERS BY MAKING THEM PAY FOR NEXT DAY AIR
                        PACKAGE DELIVERY, AND MISMARKING
                     THE UNDELIVERED PACKAGES AS DELIVERED
 112.    Upon information and belief, UPS cheats in many different ways. One of the primary ways
    UPS cheats is with their Next Day Air package service. The cheating is widespread across the
    New York City area (North Atlantic District), with delivery drivers being told by their
    superiors to scan time-sensitive packages miles from the customer's location, mark them as
    delivered, and deliver the packages later on that day after the time commitment.
 113.    Upon information and belief, Next Day Air customers are paying a premium to have these
    packages shipped overnight and delivered by 10:30 am.
 114.    Upon information and belief, Managers would either commit the fraud themselves or
    coerce the delivery drivers to mark commercial packages as residential when they came to a
    closed business after hours. This falsification avoids a service failure on UPS's part.
 115.    Upon information and belief, one of the biggest proponents of this practice is Chance
    Stewart. Chance Stewart would flat out tell On-Road-Supervisors to make these falsifications.
 116.    William Grey engaged in this practice as well.
         a. On or about December 28, 2017, at 8:16 pm, Mr. Murray received the following text
            message from William Grey: "Very important to have accurate reports. No, after 8s and
            no late air and no missed. Very important." At 9:14 pm, he followed up with, "I can't
            stress the importance of NO after 8s NO late Air or missed. I need you to make sure
            the reports show that. Please verify" at 9:17 pm, he followed up again with, "Make sure
            Naj takes out all late air." William Grey instructs Mr. Murray to ensure that the office
            assistant, Naj, falsifies the reports to show no late airs, liable to customer refunds.

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 117.   Upon information and belief, it was common for Chance Stewart to give instructions to
    managers and supervisors that violated UPS's code of conduct. The following are examples of
    the violations spear-headed by Chance Stewart: annual safety ride manipulation, service failure
    coverups, insurance fraud, and auto accident coverups.


                         ANNUAL SAFETY RIDES MANIPULATION
 118.   Upon information and belief, the company must perform annual safety rides for all of its
    employees. The rides are mandated to be all day long, and the safety department strictly
    enforces it. However, to chase performance results, UPS requires front-line supervisors to
    conduct all-day-long performance rides on the drivers. These rides are called "On the Job
    Supervision" rides or "OJS" rides.
 119.   Upon information and belief, these two rides must be done separately, especially since the
    safety ride documents become discoverable legal documents.
 120.   Upon information and belief, Chance Stewart instructed his managers and supervisors to
    do both rides simultaneously, tricking the system by entering the performance ride digitally
    through a tablet – and the safety rides on paper. This is clear falsification.
 121.   Upon information and belief, only one ride can be performed at one time on the UPS tablet,
    and there is a selection option of either Safety or Performance ride. This is how Chance Stewart
    maximizes his supervisor's time – by falsifying legal documents that state a supervisor spent
    all day training an employee on safety, when in fact, the supervisor did not.


                               SERVICE FAILURE COVERUPS
 122.   Upon information and belief, on multiple occasions, Chance Stewart instructed managers
    or supervisors to falsify premium Next Day Air packages delivered late.
 123.   Upon information and belief, as recently as February 14, 2020, Chance Stewart instructed
    a supervisor to coverup 280 service failures to UPS customers. It is UPS’s obligation to deliver
    to commercial addresses by 5 pm. If UPS fails to do so and the customer's business closes, the
    packages cannot be delivered. Within UPS, this is not good.
 124.   Upon information and belief, managers get beat up on conference calls and are forced to
    fill out extra paperwork. If there are excessive service failures, in some cases, their bonuses
    (company stock) are threatened or taken away altogether.

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 125.   Upon information and belief, on February 14, 2020, a truck was loaded with 280 packages
    to be delivered to 270 Mulberry St. and 310 Lafayette St. UPS forgot about these packages,
    which a supervisor discovered. Chance Stewart directed this supervisor to falsify all 280
    packages and mark each package with a disposition of “Closed Holiday.”


 126.   Upon information and belief, those stores were open all day. UPS simply failed to deliver
    them because they forgot about them. The customers were not reimbursed for this failure. This
    is a gross falsification of company records and is standard practice at UPS.


                    INSURANCE FRAUD AND ACCIDENT COVERUPS
 127.   Upon information and belief, on March 11, 2019, at 9:32 pm, there is a text message thread
    with Chance Stewart and all of his managers. Village Manager Paul Williams informed Chance
    Stewart through text that he had a crash in his center involving driver Jenelle Torres. The crash
    was on E. 18th Street. Paul Williams requested that Chance Stewart meet him there. This crash
    was never reported, never called in, and no paperwork was ever filed.
 128.   Upon information and belief, Jenelle Torres did her job and reported the crash to her
    manager, Paul Williams. Paul Williams did his job and reported the crash to his manager
    Chance Stewart. Yet this accident was covered up and not reported to UPS’s insurance.
 129.   Upon information and belief, the Jenelle Torres accident was not filed because it would
    harm Chance Stewart's balanced scorecard. Reporting it would create extra paperwork for
    Chance Stewart and require him to be on a conference call beat-up session the following day.


         MR. MOYLE BLOWS THE WHISTLE ON AN ACCIDENT COVERUP
 130.   Upon information and belief, during the First Quarter of 2019, one of Mr. Moyle's drivers,
    Ramadan Abdul – Salaam, reported to his supervisor Reinaldo Madera that he slipped and fell.
    Reinaldo Madera, Rey, and Alex De La Rosa went out to the scene and spoke with him.
 131.   Upon information and belief, approximately two weeks later, Mr. Abdul- Salaam
    approached Mr. Moyle and informed him that his leg was still nagging him, and he felt that he
    should get medical attention.




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 132.   Upon information and belief, Mr. Moyle called Chance Stewart to report the injury. Chance
    Stewart instructed Mr. Moyle to suppress the injury. At that point, Mr. Abdul-Salaam had
    already seen his doctor and sent Mr. Moyle a doctor's note.
 133.   Upon information and belief, while completely disregarding Mr. Abdul-Salaam's doctor's
    note, Chance Stewart sent Mr. Moyle a texted message stating the following: “Also Call Tony
    Hussein. Do u have his number”. Tony Hussain is a driver at the 43rd Street Facility. Tony
    Hussein has a common nickname known throughout the North Atlantic District – "The Safety
    Mafia." Tony Hussein works hand in hand with the facility manager, Justin Laporte, and
    together they cover up crashes and injures as they occur. Tony Hussein is known to make
    accidents and injuries go away.
 134.   Upon information and belief, Tony Hussein the Safety Mafia is a veteran delivery driver
    who is always readily available to take calls for help from managers and supervisors. After
    fielding accident calls, Tony Hussein then rushes out to the scene and convinces drivers to
    either not report an injury or to help sweep an accident under the rug. Upon information and
    belief, Tony Hussein made an injured UPS driver exit an ambulance and not report his accident
    injury.
 135.   Upon information and belief, ignoring Tony Hussein's pressure campaign, Mr. Moyle
    officially reported Mr. Abdul-Salaam's injury. Mr. Moyle's actions angered Chance Stewart
    and landed Mr. Moyle in a heap of trouble.


              MR. MOYLE IS RETALIATED AGAINST FOR REPORTING
                              MR. ABDUL-SALAAM’S INJURY:
 136.   Upon information and belief, after Mr. Moyle went against Chance Stewart and Tony
    Hussein’s wishes and reported Mr. Abdul-Salaam’s injury, he was approached by Chance
    Stewart to engage in another coverup. This time, Chance Stewart demanded that Mr. Moyle
    work with Tony Hussein regarding a crash in a center managed by Manny Pujols. Mr. Moyle
    refused, and that spelled the beginning of the end of his tenure at UPS.
 137.   Upon information and belief, Chance Stewart was on a mission to make Mr. Moyle’s life
    a living hell. He began by requesting that Terri Murphy, the Metro New York Safety Manager,
    launch an “investigation” into Mr. Moyle concerning Mr. Abdul-Salaam’s injury.



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 138.     Upon information and belief, although he was aware of Mr. Abdul-Salaam's injury at the
     time it happened, Chance Stewart falsely reported Mr. Moyle for failing to report Mr. Abdul-
     Salaam's injury on time, resulting in a "Lost Time.8” injury.
 139.     As the safety manager for the New York Metro region, Terri Murphy orchestrates and
     promotes many tactics of covering up injuries and accidents.
 140.     Upon information and belief, injuries, accidents, and, more specifically, lost time injuries
     are all negative hits on Terri Murphy's balanced scorecard. Upon receiving Chance Stewarts'
     complaint, Terri Murphy was furious that she was charged with this severe blemish on her
     BSC.
 141.     Upon information and belief, Terri Murphy directly threatened Mr. Moyle on several
     occasions. On one of those occasions, Terri Murphy said the following "This injury better not
     go lost time!"
 142.     Upon information and belief, the rules do not apply to everyone. As a result of Mr. Moyle
     reporting Mr. Abdul-Salaam's injury, he was subjected to conference call harassment, public
     ridicule, threats of termination, heightened scrutiny of his work product, excessive,
     unnecessary additional training, and harassment by company security.
 143.     Mr. Moyle is aware of UPS's pattern and practice of punishing managers who speak up,
     and it's called "grinding.9" Mr. Moyle suffered an immediate increase in the number of hours
     he was required to work. Mr. Moyle went from working 40 to 45 hours a week to being required
     to work 60 to 70 hours a week.


                 TERRI MURPHY IS THE QUEEN OF ACCIDENT COVERUPS:
 144.     Mr. Moyle, along with other managers at UPS, has had several sketchy conversations with
     Terri Murphy whenever they report auto accidents. Auto accidents at UPS are broken down
     into different classifications based on severity. It behooves the safety manager to downgrade
     accidents wrongfully.
                             •    Tier 1 – Least severe (Hit while parked, hit a parked vehicle, property
                                  damage)
                             •    Tier 2 – Moderate (Sideswipe crash)

 8
   A lost-time injury is the highest classification of injury internally at UPS. A lost-time injury negatively impacts UPS's
 insurance premiums, and it is a one-way ticket to termination for managers accused of acquiring them.
 9
   Grinding is the act of punishing managers and supervisors by making them work in locations far from their home,
 for extended hours, and during odd hours.

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                     • Tier 3 – Severe (pedestrian, intersection accident, fatality)
 145.   Within UPS, tier 3 crashes are very bad for business. When there is a tier 3 crash, the
    district president holds a conference call immediately no matter the time, managers are verbally
    assaulted on these conference calls, and delivery drivers often lose their jobs.
 146.   When sharing details of a crash with Terri Murphy, she asks questions and makes
    insinuations to lead Mr. Moyle and other managers to report crashes as tier 2 instead of tier 3.
   TERRI MURPHY ORCHESTRATES AUTO ACCIDENT SCENE MANIPULATION:
 147.   In addition to tier manipulation, if Terri Murphy sees pictures of the accident scene and it’s
    in an intersection, she would say the following:
                   •   “Are you sure that crash didn’t happen outside the intersection, and the truck
                       came to a rest there?” Or
                   •   “Make sure you don’t take any pictures near the crosswalk” or
                   •   “Don’t use that picture in the report” or
                   •   "Why don't you call me back in 10 minutes and tell me if we have to call
                       this one in".

                    TERRI MURPHY COMMITS INSURANCE FRAUD:
 148.   Upon information and belief, when a UPS driver crashes into a stationary object (wall,
    mailbox, steps) and causes property damage, it is supposed to be a reported crash that goes
    against Terri Murphy's balanced scorecard.
 149.   Upon information and belief, Terri Murphy gets around this by deliberately
    mischaracterizing these claims to the insurance company as liability property claims not caused
    by the vehicle; therefore, they are not considered auto crashes.


        MR. MOYLE SUFFERED FROM DEPRESSION AND SEVERE ANXIETY:
 150.   During the spring of 2019, the stress and pressure became too much for Mr. Moyle. As a
    United States Marine Corps war veteran, Mr. Moyle's integrity and honor were being attacked.
 151.   Mr. Moyle was being punished for going against Chance Stewart and Terri Murphy by
    reporting the injury of Mr. Abdul-Salaam. He was required to work longer hours and was being
    threatened to be relocated to a branch over a hundred miles from his home.
 152.   Mr. Moyle has witnessed countless supervisors and managers get rotated to undesirable
    locations far from their home and required to work hours that are inhumane if they go against
    UPS management.


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 153.     For example, in 2018, during Mr. Moyle’s time as the Knickerbocker manager in
       Manhattan South, Mr. Moyle covered his manager's entire operation, Frank Casalinho would
       take a vacation.
          During one particular week that Mr. Moyle was covering, Brian Cannon, Frank Casalinho’s
          manager, reached out to Mr. Moyle for an update on the Manhattan South operation.
                 Brian replied by saying “Nice job, how come Manhattan South can’t do it when
                 Frank is there? All roads lead to Frank. He fucking sucks. I can’t wait to send that
                 guy packing”
          Shortly after Brian Cannon was promoted to be president of the North Atlantic District,
          and shortly after that he did exactly what he promised. He sent Frank packing.
 154.     Brian Cannon sent Frank Casalinho to an operation in upstate New York. One of Frank’s
       buildings was located over 100 miles away from his home. This goes against the maximum
       miles outlined by UPS company policy.
 155.     Upon information and belief, it was a known fact that Brian didn’t like Frank, even poking
       fun of him during meetings. Now Brian was in a position where he could make Frank
       miserable – and he did.


      MR. MOYLE GOES ON SHORT-TERM DISABILITY, AND IS NOTIFIED THAT HE
           WAS BEING DEMOTED AND REASSIGNED TO UPSTATE NEW YORK
 156.     Mr. Moyle's depression came to a head on May 9, 2019, when he was summoned to the
       43rd Street office to be interviewed by security.
 157.     This was a game implemented by Chance Stewart and Terri Murphy as part of their
       retaliation against Mr. Moyle. They subjected Mr. Moyle to constant drilling and fake
       investigations from UPS company security.
 158.     This constant harassment caused Mr. Moyle to have a panic attack, which resulted in a
       diagnosis of depression and severe anxiety.
          a. Mr. Moyle was out on medical leave for 3.5 months.
          b. Mr. Moyle’s doctor prescribed Lorazepam.10 and Duloxetine11.
          c. The side effects of Lorazepam:



 10
    This medication is used to treat anxiety. Lorazepam belongs to a class of drugs known as benzodiazepines, which
 act on the brain and nerves (central nervous system) to produce a calming effect.
 11
    Duloxetine is used to treat the major depressive disorder in adults.

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                i. Drowsiness, dizziness, loss of coordination, headache, nausea, blurred vision,
                   change in sexual interest/ability, constipation, heartburn, or appetite change.

        d. The side effects of Duloxetine:
               i. Difficulty sleeping, headaches, feeling dizzy, blurred vision, and
                  constipation or diarrhea.
 159.   Upon information and belief, 40 days into his disability leave, Mr. Moyle’s position as the
    Knickerbocker manager was given to Brian Mactavish. He then learned through Leo
    Cummings (Chance Stewarts' supervisor) and Chance Stewart that he would be relocated to a
    location in Upstate New York upon his return.
 160.   Upon information and belief, Mr. Moyle had a conversation with Leo Cummings and
    Chance Stewart one month before his medical leave was scheduled to end. Mr. Moyle informed
    them that he would need the following accommodations to return to work:
        a. Ability to audio record conversations to aid with the issues he had concerning memory
           retention.
        b. Natural lighting in his workspace, or a "white noise" machine or noise-canceling
           headphones to aid with his ability to concentrate.
        c. A set schedule so Mr. Moyle could attend therapy and frequent doctor visits. As well
           as to balance out the groggy effects of the medication, Mr. Moyle was prescribed.
 161.   Upon information and belief, Leo Cummings and Chance Stewart denied Mr. Moyle's
    accommodation request and failed to provide him with any alternatives.
 162.   Upon information and belief, Leo Cummings and Chance Stewart informed Mr. Moyle that
    his new job location would be in Upstate New York, and when he returned, he would no longer
    be a District Manager. As a result, Mr. Moyle resigned 3.5 months into his medical leave. Mr.
    Moyle walked away from his employee benefits.


             UPS PRESSURE CAMPAIGN FOR UNITED WAY CAMPAIGN
 163.   Upon information and belief, another unethical business practice is how UPS executes its
    annual United Way campaign. Once a year, they strong-arm all of their employees to give their
    money away to put the company in a positive light with the public.
 164.   Upon information and belief, contributing is supposed to be voluntary; supervisors and
    managers have preset amounts which they are "strongly" encouraged to give. The amounts are
    $750 for supervisors and $1000 for managers.
 165.   Upon information and belief, upper management keeps track of individuals who do not
    give during the campaign, and those individuals are retaliated against.

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 166.   Upon information and belief, United Way is a huge topic of conversation on conference
    calls, and operations that are lagging are singled out and asked to "PUSH" harder. What does
    that mean? How do you 'push' people to be charitable? You retaliate against them by
    withholding their promotions, reassigning them to unfavorable locations, and unfavorable
    shifts.


                           MANHATTAN NORTH 2017 SCANDAL
 167.   Upon information and belief, perhaps the biggest cheating scandal to rock the North
    Atlantic District occurred during 2017 in the Manhattan North facility. The facility manager at
    the time was Justin Laporte, and his boss was Anthony Celano.
 168.   Upon information and belief, Anthony Celano was in charge of Justin's territory and the
    Bronx and Westchester County. Anthony Celano worked for Brian Cannon, who was the
    operations manager of New York Metro.
 169.   Upon information and belief, Justin Laporte had his supervisors change timecards nightly.
    This happened on a very large scale. The supervisors would add 'miles are driven' and
    'packages delivered' to employees' timecards, making them look much more productive than
    they were.
 170.   Justin Laporte personally swept dozens of injuries and accidents under the rug often paying
    for vehicle damage with his own money. Justin Laporte would convince his employees not to
    report injuries and pay them to stay home and rest.


                                          Plaintiff Welsh
 171.   Plaintiff Welsh has served in the United States Marine Corps and the Israeli Defense
    Forces. Mr. Welsh has received numerous commendations for his involvement in countless
    missions beyond the wire. As a Marine and an Israeli soldier, Mr. Welsh followed orders.
    When superiors at UPS instructed him to work as directed, Mr. Welsh took their words
    seriously. And like the military, Mr. Welsh trusted them to guide him towards understanding
    and interpreting UPS methods and procedures correctly.
 172.   Mr. Welsh was employed by the Defendants from approximately June 26, 2016, until July
    20, 2019. Defendants employed Mr. Welsh as an On-Road Supervisor.
 173.   Mr. Welsh’s work duties required neither discretion nor independent judgment.

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 174.    Mr. Welsh is a whistleblower who raised concerns of document manipulation, fraudulent
    reporting of accidents, management readiness exam cheating, DOT hours of service regulation
    violations, massive overtime theft of the driver's other abuses by UPS management.
 175.    As was the case with Mr. Murray, when Mr. Welsh raised his concerns with human
    resources surrounding the discriminatory and retaliatory actions of his supervisor and one of
    the UPS employees, he also raised concerns about the lack of safety concerning the number of
    hours on-road- supervisors are required to work, as well as the quick turnaround time for them
    to return to work for meetings or to work a recent shift.
 176.    Mr. Welsh sustained substantial psychological and monetary injuries due to the hostile
    work environment he was subjected to while an employee of UPS by his former manager,
    Chance Stewart, and UPS senior management.
 177.    Mr. Welsh has firsthand knowledge of UPS violating the US Department of Labor’s wage
    and hour laws.
 178.    Mr. Welsh is prepared to prove that Anthony Celano and UPS senior management stole
    hundreds of hours of overtime from a class of drivers. The evidence will show that many
    drivers start work at 7 am to 9 am, and they punch out at 10 pm 12 am. That is an average of
    15 to 17 hours a day. In a 5-day work week, these drivers work an average of 50 to 70 hours a
    week. Many of these drivers work six days a week, which brings their hours into the mid-'80s
    and '90s. These hours are not reflected on their paychecks.
 179.    Upon information and belief, Mr. Welsh has evidence of some drivers working 17 to 18-
    hour shifts. These hours were not reflected on the driver’s paychecks.


        ANTHONY CELANO INSTRUCTS STAFF TO SCRUB ALL DISCREPANCIES
 180.    On Friday, November 25, 2016, as Mr. Welsh was closing down the building, Anthony
    Celano instructed Mr. Welsh, along with a fellow On-Road Supervisor, to stay at the office “as
    long as it takes to scrub out all discrepancies.”
 181.    Upon information and belief, what this means is that hundreds, if not thousands of packages
    that had not been delivered that day would have scans on them to excuse their service failures.
    It helps a manager's numbers, which help a manager's balanced scorecard, which directly
    affects a manager's pay raise and promotion likelihood.



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 182.       Upon information and belief, Mr. Welsh had no idea what discrepancies were or what it
        meant to ‘scrub’ ODSE at the time, but he sat along with Alfonso Macera12 And 'scrubbed'
        ODSE until approximately 2 am.
 183.       Upon information and belief, the next morning, while heading to work, Anthony Celano
        reached out to Mr. Welsh asking where the printouts of the scrubbed discrepancies could be
        found, in case he was audited by a superior. As Mr. Welsh arrived at work, he gave him the
        printouts, but Anthony Celano was fuming.
 184.       He tossed the stack of documents at Mr. Welsh’s feet, saying to him: ‘It’s too late, you
        fucking idiot. I should have you go work for Danny.”
 185.       Mr. Welsh requested a sit-down with Anthony Celano later that day, wanting to clear the
        air. When they met, Mr. Welsh asked him to criticize him for his performance. In this case, his
        performance was sub-par in Anthony Celano’s eyes because Mr. Welsh had forgotten to place
        a stack of papers on his desk at 2 am after unknowingly cheating on his behalf.
 186.       Mr. Welsh told Anthony Celano that he expected to own both his successes and failures.
        Anthony Celano interrupted Mr. Welsh, saying, "I'll tell you whatever the fuck I feel like." He
        then handed Mr. Welsh his phone and said, "Go ahead. Call the 1-800 number on me. I dare
        you. It won't be the first time." He then threw Mr. Welsh out of his office; this was Mr. Welsh’s
        first taste of a culture that encourages delivery records' falsification.


                                          NEXT DAY AIR CHEATING
 187.       As previously mentioned with Mr. Moyle, Mr. Welsh has firsthand knowledge and
        experience with UPS’s falsification of delivery records during the service of “Next Day Air”
        packages.
 188.       Mr. Welsh is prepared to prove that UPS senior management treats Next Day Air packages
        as a 'red-hot' item and a vital element of a management personnel’s balanced scorecard.
 189.       Every week in the Yonkers Center between 2017 and 2018, drivers were instructed to “drop
        the package on the door, and not scan if it’s late.” A UPS employee would later input the
        tracking number on an online system (ETT), ensuring that the delivery time would show as
        occurring before 10:30 am.



 12
      An On-Road supervisor was later arrested for stealing off routes and selling them to Bronx pawn shops.

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                                   CREATIVE BOOKKEEPING
               SCAMMING CUSTOMERS OUT OF MILLIONS OF DOLLARS
 190.   Upon information and belief, the company, using what Anthony Celano would refer to as
    “creative bookkeeping,” was fleecing customers out of refunds for packages delivered late.
    Mr. Welsh was instructed to falsify thousands of U.S. Post Office deliveries, especially during
    the holiday season.


           YOU MUST OBEY DADDY, OR YOU WILL FACE RETALIATION
 191.   Upon information and belief, Anthony Celano impressed upon Mr. Welsh the importance
    of obeying orders. He often said, “Remember who Daddy is," and Mr. Welsh witnessed several
    conversations where Anthony Celano talked about making sure that, at the very least,
    subordinates that he considered disloyal got transferred to unfavorable locations and various
    positions in the company that would make them miserable. 'You can always get sent across the
    river,' Mr. Welsh heard him say.


                          TERRI MURPHY, THE QUEEN OF COVERUPS
 192.    Upon information and belief, another thing Mr. Welsh learned at UPS was to cover up
    injuries and accidents. Mr. Welsh first learned this from Terri Murphy, who once asked one of
    Mr. Welsh's partners if we could “manage” around an injury.
 193.   Upon information and belief, Terri Murphy made it clear to Mr. Welsh that it was expected
    of him to do everything after an injury occurred to “manage” it. When Mr. Welsh asked Ms.
    Murphy what it meant to manage an injury, she immediately became agitated and told him to
    ask his partners what it meant. When Mr. Welsh saw this happening at nearly every level of
    the Bronx Division, he took it as policy. After all, when his superiors gave him an instruction,
    Mr. Welsh followed them, assuming that they are acting in the name of integrity.
 194.   Upon information and belief, Terri Murphy was not the only senior manager to instruct Mr.
    Welsh to cheat and lie; Rhonda Ward, Anthony Celano, Justin LaPorte, Howard McLeish, and
    several others instructed him to do so as well.
 195.   Upon information and belief, Mr. Welsh was warned by Tim O’Connor, one of his former
    business managers that, “there are ways for me to get what I want. I can always 30/60/90 you



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        if you don’t give me my results.” Mr. Welsh quickly realized that following orders was
        paramount to maintaining job security.
 196.       Upon information and belief, Mr. Welsh was required to manage countless injuries and
        accidents for UPS. One memorable instance involved having a UPS driver move his vehicle
        after an accident so that in the pictures taken of the accident, it would look like the driver was
        less at fault than he was. This act affected UPS’s insurance premiums and saved UPS money.


              JUSTIN LAPORTE AND THE MANAGEMENT READINESS SCHEME
 197.       Upon information and belief, Mr. Welsh was instructed by Justin LaPorte to take the
        Management Readiness Exam for Jeff Harris, Erica Diaz, and Jose Ponce.
 198.       Upon information and belief, Justin LaPorte gave Mr. Welsh the following instruction,
        "You'll be a team player on this, Roy. It will mean a lot for me, a lot for Anthony (Celano) and
        a lot for Brian (Cannon).” Mr. Welsh later realized that this was not true - that he would indeed
        be executing the entirety of the test and that Mr. LaPorte was sacrificing Mr. Welsh’s integrity
        in a coercive way.
 199.       Upon information and belief, Mr. Welsh took the management exam for Jose Ponce on his
        laptop, and he answered Jeff Harris and Erica Diaz's exam questions over the phone and in
        person.


                          HECTOR FORTIS CALLED MR. WELSH A FAGGOT
 200.       Upon information and belief, one of the most distressing moments of Mr. Welsh’s
        employment with UPS came in his dealings with Hector Fortis, a former service provider and
        current Local 804 Business Agent in the Metro New York Ops Group.
 201.       Upon information and belief, a few months before Mr. Welsh left UPS; he had an
        interaction with Hector Fortis in which Hector Fortis called Mr. Welsh a "faggot." Mr. Welsh,
        a heterosexual male who has many LGBTQ members amongst his family, friends, and staff,
        approached Hector Fortis immediately after to clear up the incident and let him know that it
        was not acceptable. Hector became enraged and approached Mr. Welsh in a threatening
        manner13.



 13
      He got in his face, nose to nose.

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 202.   Upon information and belief, Mr. Welsh told Hector Fortis that it is unacceptable for hourly
    employees to perceive that their business agent harbors homophobic views. Rather than
    apologizing, Hector Fortis screamed at Mr. Welsh.
 203.   Upon information and belief, Mr. Welsh filed a complaint with Lloyd Hall, his business
    manager. Lloyd Hall told him it would blow over, and Hector Fortis's bark was worse than his
    bite. Mr. Welsh reiterated that his bark was his concern as homophobia is unacceptable to him
    due to the many relationships, he has with members of the LGBTQ community and the fact
    that some of the staff identify as gay. He also raised concerns about his physical safety since
    Hector got into his face in a threatening manner.
 204.   Lloyd Hall warned Mr. Welsh against making a "big deal" out of this incident and reminded
    him that bad things happen to managers and employees who create UPS problems.
 205.   Upon information and belief, Mr. Welsh called the 1-800 number to complain of Hector
    Fortis's behavior for fear of his safety. Mr. Welsh mentioned on the call that hate crimes are
    on the rise in New York City and that hateful language often correlates with such crimes. Mr.
    Welsh reported this incident to Human Resources as well. He never heard anything else from
    Defendant Corporation on the matter.


                         MR. WELSH IS RETALIATED AGAINST,
              AND WAS NOT ALLOWED TO ATTEND SHABBAT DINNER
 206.   Upon information and belief, this dishonesty mixed with homophobia produced a level of
    retaliation that is unthinkable. After Mr. Welsh reported Hector Fortis's behavior, it became
    nearly impossible for Mr. Welsh to get time off from work or a flexible work schedule that
    would allow him to practice his religious faith – Judaism freely.
 207.   Upon information and belief, the retaliation came in two forms: first. Lloyd Hall denied
    every request that Mr. Welsh made to attend Shabbat dinners. Ms. Welsh's request would be
    met with a nonchalant "maybe," which later turned into a "no."
 208.   The second form of retaliation came in the form of schedule manipulation. Throughout his
    career at UPS, Mr. Welsh had a set schedule due to his religious observances. Mr. Welsh would
    work in the mornings so he could be home by sundown. After going against Lloyd Hall's
    wishes by reporting Hector Fortis, Mr. Welsh found himself working all day, with threats of
    termination if he went home.

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 209.   Upon information and belief, Mr. Hall began the practice of making a late request for
    assignments and demanding that Mr. Welsh stay behind to do the work. Mr. Welsh requested
    to work from home to comply with his religious practices, and Lloyd Hall refused.


                            MR. WELSH IS REQUIRED TO WORK
                          UNTHINKABLE HOURS WITHOUT HELP
 210.   Mr. Welsh worked Tuesday-Saturday from 6:30 am to 5 pm. This schedule was in line with
    his religious practices and would allow Mr. Welsh to be home before sunset.
 211.   Upon information and belief, after reporting Hector Fortis, Mr. Welsh's work schedule
    changed dramatically. Mr. Welsh went from work an average of 40-50 hours a week to work
    from 7 am until after 11 pm.
 212.   During this period, Mr. Welsh was responsible for everything in operation from dispatch
    until the end of the day. Mr. Welsh performed these duties without the benefit of a secretary
    and often without a mechanic present.
 213.   There were several instances where Mr. Welsh paid a secretary out of his pocket ($50 plus
    dinner) to have assistance with driver timecards at the end of the day so he could go home at a
    manageable hour. Upon information and belief, Mr. Welsh was the only On-Road Supervisor
    who had to pay out of pocket to have a secretary at his location. Mr. Welsh's comparator, Fari
    Murray, did not have this experience.
 214.   Upon information and belief, Mr. Welsh knows for a fact that Rhonda Ward was consulted
    about the Yonkers Center not having a secretary on Saturdays, and no action was taken to
    correct the problem. There were a few instances where Mr. Welsh received calls from Rhonda
    Ward and Lloyd Hall after 11:30 pm on Saturday, asking questions about the operation results.
    All of these calls were responses to phone calls Mr. Welsh made hours earlier. They purposely
    called in late to keep Mr. Welsh at work all day.


                  RETALIATION FOR REPORTING HECTOR FORTIS
                     LED TO SEVERE ANXIETY AND DEPRESSION
 215.   Upon information and belief, this constant retaliation caused Mr. Welsh to develop high
    blood pressure. This led Mr. Welsh to seek medical attention, which resulted in a diagnosis of
    depression and severe anxiety.

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            a. Mr. Welsh was out on medical leave for two months.
            b. Mr. Welsh’s was prescribed Escitalopram14.
            c. The side effects of Escitalopram are:
                   i. blurred vision, tunnel vision, eye pain or swelling, or seeing halos around
                      lights;
                  ii. racing thoughts, unusual risk-taking behavior, feelings of extreme happiness or
                      sadness;
                 iii. Low sodium levels in the body include headache, confusion, slurred speech,
                      severe weakness, vomiting, loss of coordination, and feeling unsteady.
 216.       Upon information and belief, as a result of experiencing some of the side effects of
        Escitalopram, Mr. Welsh informed Lloyd Hall and Justin LaPorte (Lloyd’s manager) that he
        would need reasonable accommodations when he returned to work after his short-term
        disability leave. Upon information and belief, Mr. Welsh requested the following
        accommodations:
            a. A return to the set schedule of 6 am-5 pm so he could be home by sundown;
            b. The ability to work from home two days out of the week so he could attend medical
               appointments;
            c. White light in the office to reduce headaches and improve concentration.
            d. Removal of Hector Fortis from the facility or his work shift.
            e. The ability to take lunch break free of retribution.
 217.       Upon information and belief, Lloyd Hall denied Mr. Welsh’s accommodations request and
        informed him that he would be transferred to the Parsippany New jersey pre-load location. In
        light of this apparent act of retaliation and left with no other alternative, Mr. Welsh resigned
        from the company.


                                     WAGE AND HOUR PLAINTIFFS15
                                               Plaintiff Palaguachi
 218.       Upon information and belief, Plaintiff Palaguachi’s work duties required neither discretion
        nor independent judgment.
 219.       Upon information and belief, throughout his employment with Defendants, Plaintiff
        Palaguachi regularly worked more than forty (40) hours per week.



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   Escitalopram sold under the brand names Cipralex and Lexapro, among others, is an antidepressant of the selective
 serotonin reuptake inhibitor (SSRI) class. Escitalopram is mainly used to treat a major depressive disorder or
 generalized anxiety disorder.
 15
      See Exhibit A: Estimation of overtime hours owed.

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 220.   Upon information and belief, from approximately October 2017 until May 2018, Plaintiff
    Palaguachi worked as a package delivery driver from approximately 8:00 am until on or about
    11:00 pm., Sunday through Friday, typically 50 to 90 hours per week.
 221.   Upon information and belief, Defendants paid Plaintiff Palaguachi his wages through
    check or direct deposit throughout his employment.
 222.   Upon information and belief, Plaintiff Palaguachi's pay did not vary even when he was
    required to start earlier or work a more extended day than his usual schedule. For example,
    Defendants required Plaintiff Palaguachi to start work hours earlier or work long days when
    there was a staff shortage and did not pay him overtime pay for the additional time he worked.
 223.   Upon information and belief, Plaintiff Palaguachi kept track of the hours he worked
    because it is reflected on his pay stubs under the "hours" column. Defendants utilize a time
    tracking device, such as punch cards.
 224.   Upon information and belief, notifications in posted notices and written correspondences
    were not given to Plaintiff Palaguachi regarding overtime and wages under the NYLL.
 225.   Upon information and belief, Defendants did not provide Plaintiff Palaguachi an accurate
    statement of wages, as required by NYLL 195(3).
 226.   Upon information and belief, Plaintiff Palaguachi is prepared to prove that William Grey
    and UPS Senior management instructed him to hide numerous automobile accidents.
 227.   Upon information and belief, Plaintiff Palaguachi is prepared to prove that William Grey
    and UPS Senior management instructed him to lie about delivery records like missed packages
    and falsely manipulating delivery attempts. The scheme Mr. Palaguachi was required to
    employ is a follows: he was instructed to go close to the customer's home, scan the package,
    and place the package in the truck even if Mr. Palaguachi never made the delivery attempt.
 228.   Upon information and belief, Plaintiff Palaguachi was required to deliver packages with
    his vehicle while not compensated for the milage or gas he used.
 229.   Upon information and belief, Defendant William Grey and UPS senior management
    required Plaintiff Palaguachi to deliver packages out of his vehicle during the holiday season,
    such as thanksgiving, easter, and Christmas.




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                                         Plaintiff Payne
 230.   Upon information and belief, Plaintiff Payne’s work duties required neither discretion nor
    independent judgment.
 231.   Upon information and belief, Plaintiff Payne regularly worked more than forty (40) hours
    per week throughout his employment with Defendants.
 232.   Upon information and belief, from Approximately August 2017 until June 2018, Plaintiff
    Payne worked as a package delivery driver from approximately 8:00 am until on or about 11:00
    pm., Sunday through Friday, typically 50 to 90 hours per week.
 233.   Upon information and belief, Defendants paid Plaintiff Payne his wages through check or
    direct deposit throughout his employment.
 234.   Upon information and belief, Plaintiff Payne's pay did not vary even when he was required
    to start earlier or work a more extended day than his usual schedule. For example, Defendants
    required Plaintiff Payne to start work hours earlier or work long days when there was a staff
    shortage and did not pay him overtime pay for the additional time he worked.
 235.   Upon information and belief, Plaintiff Payne kept track of the hours he worked because it
    is reflected on his pay stubs under the "hours" column. Defendants utilize a time tracking
    device, such as punch cards.
 236.   Upon information and belief, notifications in the form of posted notices and written
    correspondences were not given to Plaintiff Payne regarding overtime and wages under the
    NYLL.
 237.   Upon information and belief, Defendants did not provide Plaintiff Payne an accurate
    statement of wages, as required by NYLL 195(3).
 238.   Upon information and belief, Plaintiff Payne is prepared to prove that William Grey and
    UPS Senior management instructed him to hide numerous automobile accidents.
 239.   Upon information and belief, Plaintiff Payne is prepared to prove that William Grey and
    UPS Senior management instructed him to lie about delivery records like missed packages and
    falsely manipulating delivery attempts. The scheme Plaintiff Payne was required to employ is
    a follows: he was instructed to go close to the customer's home, scan the package, and place
    the package in the truck even if Plaintiff Payne never made the delivery attempt.
 240.   Upon information and belief, Plaintiff Payne was required to deliver packages with his
    vehicle while not compensated for the milage or gas he used.

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 241.   Upon information and belief, Defendant William Grey and UPS senior management
    required Plaintiff Payne to deliver packages out of his vehicle during the holiday season, such
    as thanksgiving, easter, and Christmas.


                                        Plaintiff Santiago
 242.   Upon information and belief, Plaintiff Santiago’s work duties required neither discretion
    nor independent judgment.
 243.   Upon information and belief, Plaintiff Santiago regularly worked more than forty (40)
    hours per week throughout his employment with Defendants.
 244.   Upon information and belief, from Approximately April 7, 2014, until October 18, 2020,
    Plaintiff Santiago worked as a package delivery driver from approximately 8:00 am until on or
    about 11:00 pm., Sunday through Friday, typically 50 to 90 hours per week.
 245.   Upon information and belief, Defendants paid Plaintiff Santiago his wages through check
    or direct deposit throughout his employment.
 246.   Upon information and belief, Plaintiff Santiago's pay did not vary even when he was
    required to start earlier or work a more extended day than his usual schedule. For example,
    Defendants required Plaintiff Santiago to start work hours earlier or work long days when there
    was a staff shortage and did not pay him overtime pay for the additional time he worked.
 247.   Upon information and belief, Plaintiff Santiago kept track of the hours he worked because
    it is reflected on his pay stubs under the "hours" column. Defendants utilize a time tracking
    device, such as punch cards.
 248.   Upon information and belief, posted notices and written correspondences were not given
    to Plaintiff Santiago regarding overtime and wages under the NYLL.
 249.   Upon information and belief, Defendants did not provide Plaintiff Santiago an accurate
    statement of wages, as required by NYLL 195(3).
 250.   Upon information and belief, Plaintiff Santiago is prepared to prove that William Grey and
    UPS Senior management instructed him to hide numerous automobile accidents.
 251.   Upon information and belief, Plaintiff Santiago is prepared to prove that William Grey and
    UPS Senior management instructed him to lie about delivery records like missed packages and
    falsely manipulating delivery attempts. The scheme Plaintiff Santiago was required to employ



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    is a follows: he was instructed to go close to the customer's home, scan the package, and place
    the package in the truck even if Plaintiff Santiago never made the delivery attempt.
 252.   Upon information and belief, Plaintiff Santiago was required to deliver packages with his
    vehicle while not compensated for the milage or gas he used.
 253.   Upon information and belief, Defendant William Grey and UPS senior management
    required Plaintiff Santiago to deliver packages out of his vehicle during the holiday season,
    such as thanksgiving, easter, and Christmas.


                                        Plaintiff Radwan
 254.   Upon information and belief, Plaintiff Radwan’s work duties required neither discretion
    nor independent judgment.
 255.   Upon information and belief, Plaintiff Radwan regularly worked more than forty (40) hours
    per week throughout his employment with Defendants.
 256.   Upon information and belief, from Approximately July 2018 until October 1, 2018,
    Plaintiff Radwan worked as a package delivery driver from approximately 8:00 am until on or
    about 11:00 pm., Sunday through Friday, typically 50 to 90 hours per week.
 257.   Upon information and belief, Defendants paid Plaintiff Radwan his wages through check
    or direct deposit throughout his employment.
 258.   Upon information and belief, Plaintiff Radwan's pay did not vary even when he was
    required to start earlier or work a more extended day than his usual schedule. For example,
    Defendants required Plaintiff Radwan to start work hours earlier or work long days when there
    was a staff shortage and did not pay him overtime pay for the additional time he worked.
 259.   Upon information and belief, Plaintiff Radwan kept track of the hours he worked because
    it is reflected on his pay stubs under the "hours" column. Defendants utilize a time tracking
    device, such as punch cards.
 260.   Upon information and belief, notifications in the form of posted notices and written
    correspondences were not given to Plaintiff Radwan regarding overtime and wages under the
    NYLL.
 261.   Upon information and belief, Defendants did not provide Plaintiff Radwan an accurate
    statement of wages, as required by NYLL 195(3).



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 262.   Upon information and belief, Plaintiff Radwan is prepared to prove that William Grey and
    UPS Senior management instructed him to hide numerous automobile accidents.
 263.   Upon information and belief, Plaintiff Radwan is prepared to prove that William Grey and
    UPS Senior management instructed him to lie about delivery records like missed packages and
    falsely manipulating delivery attempts. The scheme Plaintiff Radwan was required to employ
    is a follows: he was instructed to go close to the customer's home, scan the package, and place
    the package in the truck even if Plaintiff Radwan never made the delivery attempt.
 264.   Upon information and belief, Plaintiff Radwan was required to deliver packages with his
    vehicle while not compensated for the milage or gas he used.
 265.   Upon information and belief, Defendant William Grey and UPS senior management
    required Plaintiff Radwan to deliver packages out of his vehicle during the holiday season,
    such as thanksgiving, easter, and Christmas.


                           Defendants’ General Employment Practices
 266.   At all times relevant to this Complaint, Defendants maintained a policy and practice of
    requiring Plaintiffs and all similarly situated employees to work more than 40 hours a week
    without paying them appropriate overtime compensation as required by federal and state laws.
 267.   Upon information and belief, Plaintiffs are victims of Defendants' standard policy and
    practices, which violate their rights under the New York Labor Law by, among other things,
    not paying them the wages they are owed for the hours they worked.
 268.   Upon information and belief, Defendants habitually required Plaintiff’s to work additional
    hours beyond their regular shifts but did not provide them with any additional compensation.
 269.   Upon information and belief, Defendants' practices were done willfully to disguise the
    actual number of hours Plaintiffs and all similarly situated employees worked and avoid paying
    Plaintiffs and all similarly situated employees appropriately for their total hours worked.
 270.   Upon information and belief, Defendants engaged in their unlawful conduct according to
    a corporate policy of minimizing labor costs and denying employees compensation by
    knowingly violating the NYLL.
 271.   Upon information and belief, Defendants’ unlawful conduct was intentional, willful, in bad
    faith, and caused significant damages to Plaintiff’s and all similarly situated current and former
    employees.

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                                  NYLL COLLECTIVE ACTION CLAIMS16
 272.     Plaintiffs bring this NYLL overtime compensation and liquidated damages claims as a
      collective action according to N.Y. CLS CPLR § 901et seq. on behalf of all similarly situated
      employees (the “NYLL Class Members”), i.e., persons who are or were employed by
      Defendant’s, on or after the date that is three years before the filing of the complaint in this
      case (the “NYLL Class Period”).
 273.     At all relevant times, Plaintiff's and other members of the NYLL Class were similarly
      situated in that they had substantially similar job requirements and pay provisions, and have
      been subject to Defendants' standard practices, policies, programs, procedures, protocols, and
      plans, including willfully failing and refusing to pay them the required overtime pay at a one
      and one-half their regular rates for work over forty (40) hours per workweek under the NYLL,
      and willfully failing to keep records required by the NYLL.
 274.     The claims of plaintiffs stated herein are similar to those of the other employees.


                     TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 CLAIMS
 275.     Defendants have engaged in egregious acts of race, religion, and ADA discrimination in
      violation of Title VII of the Civil Rights Act of 1964, as amended.
 276.     Plaintiffs willfully and intentionally pay Caucasian employees substantially more than they
      pay non-Caucasian employees who perform the same job under similar circumstances,
      regardless of experience or qualifications. Plaintiffs can point to no legitimate factor such as a
      seniority system, merit system, productivity system, or any factor other than race and gender
      to excuse their blatant acts of wage discrimination.
 277.     Not only do Plaintiffs commit religious and race discrimination in violation of Title VII of
      the Civil Rights Act of 1964, but they also retaliate against employees who are courageous
      enough to speak up and demand equality.
 278.     Plaintiff Murray, Plaintiff Welsh, and Plaintiff Moyle are victims of Defendant’s
      retaliation.

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   As detailed above in Plaintiff Murray's section of the pleading, ¶ 83-84, in addition to Plaintiff’s Palaguachi, Payne,
 Santiago, and Radwan, there are at least 20 additional drivers who had their overtime and straight time is stolen by
 Defendant corporation. Additionally, Plaintiffs Murray, Welsh, and Moyle are prepared to testify under penalty of
 perjury that they changed or reduced the hours of hundreds of drivers throughout the duration of their employment.
 Plaintiff Murray is also prepared to attest that the UPS facility he worked in has over 130 hourly package delivery
 drivers. This is more than the minimum required for NYLL class certification.

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                                 FIRST CAUSE OF ACTION
                 VIOLATION OF THE OVERTIME PROVISIONS
          OF THE NEW YORK STATE LABOR LAW FOR FAILURE TO PAY
                   MINIMUM AND STRAIGHT-TIME WAGES
                    (Brought on behalf of the NYLL Collective)
 279.   Plaintiff Payne, Plaintiff Radwan, Plaintiff Santiago, and Plaintiff Palaguachi, and all
    similarly situated employees repeats and realleges all paragraphs above as though fully set
    forth herein.
 280.   As detailed above, the NYLL Collective was qualified to work as Package Delivery
    Drivers.
 281.   Upon information and belief, Defendant corporation and Defendant William Grey (in his
    capacity as a senior manager and shareholder of defendant corporation) ("Defendants"), in
    violation of N.Y. Lab. Law § 190 et seq., and supporting regulations of the New York State
    Department of Labor, failed to pay Plaintiff's and all similarly situated employees, overtime
    compensation at rates of one and one-half times the regular rate of pay for each hour worked
    more than forty (40) hours in a workweek.
 282.   Upon information and belief, Defendants’ failure to pay Plaintiff Payne, Plaintiff Radwan,
    Plaintiff Santiago, and Plaintiff Palaguachi and all similarly situated employees, overtime
    compensation was willful within the meaning of N.Y. Lab. Law § 663.
 283.   Upon information and belief, Plaintiff Payne, Plaintiff Radwan, Plaintiff Santiago, and
    Plaintiff Palaguachi, and all similarly situated employees are entitled to recover from
    Defendants their unpaid overtime wages, liquidated damages as provided for by the NYLL,
    reasonable attorneys' fees and costs, and pre-judgment and post-judgment interest.


                                SECOND CAUSE OF ACTION
                    VIOLATION OF THE NOTICE AND RECORDKEEPING
                     REQUIREMENTS OF THE NEW YORK LABOR LAW
                           (Brought on behalf of NYLL Collective)
 284.   Plaintiff Payne, Plaintiff Radwan, Plaintiff Santiago, and Plaintiff Palaguachi, and all
    similarly situated employees repeats and realleges all paragraphs above as though fully set
    forth herein.
 285.   Upon information and belief, upon their hiring and throughout their employment,
    Defendant corporation and Defendant William Grey (in his capacity as a senior manager and

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    shareholder of defendant corporation) (“Defendants”) failed to provide Plaintiff Payne,
    Plaintiff Radwan, Plaintiff Santiago and Plaintiff Palaguachi and all similarly situated
    employees, with a written notice, in English, Spanish, or Arabic (Plaintiff's Palaguachi primary
    language), containing: the rate or rates of pay and basis thereof, whether paid by the hour, shift,
    day, week, salary, piece, commission, or other; allowances, if any, claimed as part of the
    minimum wage, including tip, meal, or lodging allowances; the regular payday designated by
    the employer; the name of the employer; any "doing business as" names used by the employer;
    the physical address of the employer's main office or principal place of business, and a mailing
    address if separate; and telephone number of the employer, as required by NYLL § 195(1).
 286.   Upon information and belief, Defendants had numerous opportunities to cure this issue
    throughout their employment, but they never did. Defendants could have cured this during
    training, hiring, performance reviews, and on payday.
 287.   Upon information and belief, Plaintiff Payne, Plaintiff Radwan, Plaintiff Santiago, and
    Plaintiff Palaguachi, and all similarly situated employees are damaged in an amount to be
    determined at trial.


                                  THIRD CAUSE OF ACTION
                VIOLATION OF THE WAGE STATEMENT PROVISIONS
                         OF THE NEW YORK LABOR LAW
                      (Brought on behalf of the NYLL Collective)
 288.   Plaintiff Payne, Plaintiff Radwan, Plaintiff Santiago, and Plaintiff Palaguachi, and all
    similarly situated employees repeats and realleges all paragraphs above as though fully set
    forth herein.
 289.   Upon information and belief, with each payment of wages, Defendant corporation and
    Defendant William Grey (in his capacity as a senior manager and shareholder of defendant
    corporation) (“Defendants”) failed to provide Plaintiff Payne, Plaintiff Radwan, Plaintiff
    Santiago, and Plaintiff Palaguachi and all similarly situated individuals, with an accurate
    statement listing each of the following: the dates of work covered by that payment of wages;
    the name of the employee; the name of employer; address and phone number of the employer;
    rate or rates of pay as basis thereof, whether paid by the hour, shift, day, week, salary, piece,
    commission, or other; gross wages; deductions; allowances, if any, claimed as part of the
    minimum wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of

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    pay; the number of regular hours worked; and the number of overtime hours worked, as
    required by NYLL § 195(3).
 290.   Upon information and belief, due to Defendants’ violation of NYLL, Article 6, § 195(3),
    Plaintiff Payne, Plaintiff Radwan, Plaintiff Santiago, and Plaintiff Palaguachi and all similarly
    situated employees are entitled to statutory penalties of two hundred fifty dollars for each
    workweek that Defendants failed to provide them with accurate wage statements, or a total of
    five thousand dollars, and reasonable attorneys' fees and costs as provided for by NYLL,
    Article 6, § 198(1-d).


                                FOURTH CAUSE OF ACTION
            VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                     (Brought on behalf of Plaintiff Murray against UPS)
 291.   Plaintiff Murray and all similarly situated employees repeats and realleges all paragraphs
    above as though fully set forth herein.
 292.   At all relevant times, Plaintiff's and all similarly situated employees have been subject to
    Defendants' standard practices, policies, programs, procedures, protocols, and plans, including
    willfully engaging in conduct that violates the Civil Rights Act of 1964 § 701 et seq., 42
    U.S.C.A. § 2000e et seq.
 293.   This claim is authorized and instituted according to Title VII of the Civil Rights Act, 42
    U.S.C.§2000e et seq., based upon the discriminatory employment practices of Defendants.
    Specifically, Plaintiff complains that Defendants discriminated against him in wages based
    upon his race, causing him to suffer substantial injury and damages.
 294.   Upon information and belief, Plaintiff Murray is an African American male, making him a
    member of a protected class. With over 15 years of employment with UPS, Mr. Murray is
    beyond qualified for the On-Road-Supervisor position.
 295.   Upon information and belief, Plaintiff Murray and all similarly situated employees are paid
    less than the rate at which their similarly situated Caucasian colleagues are paid for a job (On-
    Road-Supervisor) requiring equal skill and performed under similar working conditions. There
    is no difference in job responsibilities for On-Road-Supervisors.
 296.   Upon information and belief, Mr. Murrays Caucasian comparators are Roy Welsh, Patrick
    Scanlon, Carl Lucateli, Joseph Simeone, and Robert “Bob” Walsh. All of these individuals are
    On-Road Supervisors. Upon information and belief, they all worked as On-Road Supervisors

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    while Mr. Murray worked as an On-Road Supervisor. Mr. Murray was equally as qualified as
    these individuals to execute the role of On-Road Supervisor. Upon information and belief, all
    of these individuals were paid substantially more than Mr. Murray even though they did the
    identical job.
 297.   Upon information and belief, Plaintiff Murray notified Beverly (HR Manager) of his wage
    discrimination claims on or about the ending of summer and the beginning of fall 2018.
 298.   Upon information and belief, Plaintiff Murray and similarly situated employees were
    offered less than the rate at which their similarly situated Caucasian colleagues are paid for a
    job requiring equal skill and performed under similar working conditions.
 299.   Defendants' failure to pay Plaintiff Murray and all similarly situated employees, equally
    with their Caucasian coworkers, was based on the Defendant's disdain for Plaintiff's race and
    gender, in violation of Title VII of the Civil Rights Act, 42 U.S.C.§2000e et seq.
 300.   Upon information and belief, Plaintiff Murray was allegedly terminated because he
    followed William Grey's instruction and "covered up" an accident. Ironically, when Brian
    Pollard (a Caucasian On Road Supervisor) and his manager Dawn Mitchell (Caucasian
    Manager) covered up accidents, and Dawn admitted to it, both of these individuals kept their
    jobs. Brian Pollard was promoted shortly after. The only difference between Plaintiff Murray,
    Brian Pollard, and Dawn Mitchell is that Plaintiff Murray is Black.
 301.   Plaintiff Murray and all similarly situated employees are damaged in an amount to be
    determined at trial.


                                 FIFTH CAUSE OF ACTION
                Constructive Discharge in violation of NYSHRL & NYCHRL
                             (Plaintiff Moyle and Plaintiff Welsh)
 302.   A constructive discharge occurs when an employer, rather than directly discharging an
    individual, intentionally creates an intolerable work atmosphere that forces an employee to quit
    involuntarily. Working conditions are intolerable if they are so difficult or unpleasant that a
    reasonable person in the employee's shoes would have felt compelled to resign.
 303.   Upon information and belief, as described in the sixth Cause of action below, and as
    detailed above, Plaintiff Welsh and Plaintiff Moyle were recipients of harassment, retaliation,
    targeting, extended hours, undesirable shifts, displacement, transfers to undesirable far
    locations.

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 304.   Upon information and belief, the individuals who engaged in the actions listed above are
    Lloyd Hall and Chance Stewart. Lloyd Hall and Chance Stewarts' intention was to punish Mr.
    Welsh and Mr. Moyle for engaging in the protective activities listed in the sixth cause of action.
 305.   Upon information and belief, Lloyd Hall and Chance Stewart used the tools available to
    them (scheduling, undesirable reassignments, investigations, heighten ridicule of work
    product, threats, denial of reasonable accommodations, and coercion) to create unpleasant and
    challenging working conditions for Mr. Welsh and Mr. Moyle.
 306.   Upon information and belief, as a result of Lloyd Hall and Chance Stewarts' unbearable
    actions, Mr. Welsh and Mr. Moyle resigned from the company.
 307.   As their joint employer, defendant corporation, and individual defendants Hall and Stewart
    engaged in egregious prohibited conduct listed above. This conduct caused Plaintiff Moyle and
    Plaintiff Welsh to suffer severe depression and anxiety, which led them to resign from their
    jobs.
 308.   Defendants' actions and omissions warrant an award of punitive damages.


                                  SIXTH CAUSE OF ACTION
                   Unlawful retaliation in violation of NYCHRL & NYSHRL
                             (Plaintiff Moyle, and Plaintiff Welsh)
 309.   Plaintiff Moyle and Plaintiff Welsh repeat and reallege all paragraphs above as though fully
    set forth herein.
 310.   At all relevant times, Plaintiff Moyle and Plaintiff Welsh have been subject to Defendants'
    standard practices, policies, programs, procedures, protocols, and plans, including willfully
    engaging in conduct that violates New York City Human Rights Law ("NYCHRL"),
    Administrative Code of City of New York § 8-107 (7).
 311.   At all relevant times, Plaintiff Moyle and Plaintiff Welsh have been subject to Defendants'
    standard practices, policies, programs, procedures, protocols, and plans, including willfully
    engaging in conduct that violates New York State Human Rights Law ("NYSHRL"), Executive
    Law State of New York § 296.
 312.   Plaintiff Moyle and Plaintiff Welsh participated in protected activity by making internal
    complaints via the 1800 hotline, complaining to upper management, and contacting human
    resources on many claims. After doing so, Plaintiff Moyle and Plaintiff Welsh allege defendant
    corporation took several adverse employment actions against them, including, among other

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    things, being written-up and subjected to heightened scrutiny of their work product, denial of
    their disability accommodations request, making them work egregious hours and shifts,
    prohibiting them from partaking in their religious observances (Shabbat Dinner), and the case
    of Plaintiff Moyle, demoting him while he was on short term disability leave.
 313.   For Plaintiff Moyle and Plaintiff Welsh to successfully plead a claim for retaliation under
    the NYSHRL or NYCHRL, they must demonstrate that: "(1) he has engaged in protected
    activity, (2) his employer was aware that he participated in such activity, (3) he suffered an
    adverse employment action based upon his activity, and (4) there is a causal connection
    between the protected activity and the adverse action."


 Plaintiff Moyle:
 314.   Upon information and belief, the protected activity Plaintiff Moyle engaged in was taking
    disability leave. Disability leave is protected under the Family Medical Leave Act and the
    Americans with disabilities act.
 315.   Upon information and belief, Plaintiff Moyle informed UPS management through his
    direct supervisors Chance Stewart and Leo Cummings. Therefore, they knew he was
    participating in the protective activity of taking medical leave. Plaintiff Moyle has phone
    records to support this claim.
 316.   Upon information and belief, Plaintiff Moyle suffered an adverse employment action when
    Leo Cummings and Chance Stewart permanently replaced him with Bran Mactavish; when
    they informed him that he would be transferred to the Upstate New York location of UPS; and
    when they denied his accommodation request previously mentioned above.
 317.   Upon information and belief, the causal connection is clear. Mr. Moyle exercised his right
    to take disability leave which is frowned upon within UPS and by Chance Stewart. As a result,
    he was transferred to a location that was over 100 miles from his home (in violation of UPS
    policy), had his accommodation request denied, and was permanently replaced in violation of
    FMLA.


 Plaintiff Welsh:
 318.   Upon information and belief, the protected activities Plaintiff Welsh engaged in were
    taking disability leave, filing a complaint concerning homophobia, and requesting religious

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    observance accommodations. Disability leave is protected under the Family Medical Leave
    Act and the Americans with disabilities act. Homophobia is protected under Title VII,
    NYCHRL, and NYSHRL. Religious observance is protected under Title VII, NYCHRL, and
    NYSHRL.
 319.   Upon information and belief, Plaintiff Welsh informed UPS management about his
    religious observance accommodation, homophobic attack, and need for disability leave
    through his direct supervisors Lloyd Hall. Therefore, they knew he was participating in the
    protective activity of taking medical leave, protesting homophobia, and requesting religious
    observance accommodations. Plaintiff Welsh has phone records to support this claim.
 320.   Upon information and belief, Plaintiff Welsh suffered an adverse employment action when
    Lloyd Hall denied his religious observance accommodation request and deliberately changed
    his schedule so he would be at work during times that directly conflicted with his religious
    observance practices. Plaintiff Welsh suffered an adverse employment action when he was
    punished for reporting a fellow employee for engaging in acts of homophobia. The punishment
    came in the form of a retaliatory work schedule and denial of religious observance requests.
    Plaintiff Welsh suffered an adverse employment action when Lloyd Hall informed him that he
    would be reassigned to Parsippany, New Jersey, upon returning to work. Parsippany is located
    extremely far from Mr. Welsh’s home.
 321.   Upon information and belief, the causal connection is clear. Mr. Welsh exercised his right
    to take disability leave which is frowned upon within UPS and by Lloyd Hall; he went against
    Lloyd Halls wishes and reported his colleague for being a homophobe, and he requested a
    religious observance accommodation which Lloyd Hall viewed as being against the needs of
    the business when in actuality he was retailing against Mr. Welsh for reporting his homophobic
    colleague. As a result, Mr. Welsh was transferred to a location that was extremely from his
    home (in violation of UPS policy).
 322.   Plaintiff Moyle and Plaintiff Welsh repeat and reallege all paragraphs above as though fully
    set forth herein.
 323.   As their joint employer, defendant corporation, and individual defendants Hall and Stewart
    engaged in egregious prohibited conduct listed above. This conduct caused Plaintiff Moyle and
    Plaintiff Welsh to suffer severe depression and anxiety, which led them to resign from their
    jobs.

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 324.   Defendants' actions and omissions warrant an award of punitive damages.


                                SEVENTH CAUSE OF ACTION
               Unlawful retaliation in violation of NYCHRL (Plaintiff Murray)
 325.   Plaintiff Murray repeats and realleges all paragraphs above as though fully set forth herein.
 326.   Upon information and belief, at all relevant times, Plaintiff Murray had been subject to
    Defendants' standard practices, policies, programs, procedures, protocols, and plans, including
    willfully engaging in conduct that violates New York City Human Rights Law ("NYCHRL"),
    Administrative Code of City of New York § 8-107 (7).
 327.   Upon information and belief, Plaintiff Murray participated in protected activity by filing a
    complaint with HR manager Beverly concerning his wage discrimination claims (as listed in
    Count Four above), the theft of overtime from the delivery package drivers, the insurance fraud
    by way of accident scene manipulation and accident coverups orchestrated by William Grey.
 328.   Upon information and belief, after doing so, Plaintiff Murray alleges defendant corporation
    and William Grey took several adverse employment actions against him, including, among
    other things, terminating him after he raised claims and provided evidence of the alleged
    discriminatory acts.
 329.   Upon information and belief, the causal connection between the protected activity and the
    adverse employment actions is evidenced by their temporal proximity. Within a month after
    filing a complaint with Beverly concerning the matters mentioned and throughout this
    pleading, Mr. Murray was terminated.
 330.   Upon information and belief, as his employer, defendants engaged in egregious prohibited
    conduct listed above. This caused Plaintiff Murray to suffer from PTSD and Severe
    Depression.
 331.   Defendants' actions and omissions warrant an award of punitive damages.


                                 EIGHTH CAUSE OF ACTION
         Unlawful retaliation in violation of Title VII of the Civil Rights Act of 1964
                                 (Plaintiff Murray against UPS)
 332.   Plaintiff Murray repeats and realleges all paragraphs above as though fully set forth herein.
 333.   Upon information and belief, at all relevant times, Plaintiff Murray has been subject to
    Defendants' standard practices, policies, programs, procedures, protocols, and plans, including

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    willfully engaging in conduct that violates Title VII of the Civil Rights Act of 1964 42 U.S.C.
    § 2000e.
 334.   Upon information and belief, Plaintiff Murray participated in protected activity by making
    internal complaints to human resource manager Beverly for many claims.
 335.   Upon information and belief, after doing their due diligence and filing their bona fide
    legitimate complaints concerning violations of protected activities, Plaintiffs were wrongfully
    terminated and constructively discharged.
 336.   Plaintiff Murray alleges the defendant corporation took adverse employment actions
    against them, including, among other things, being threatened and terminated. Plaintiff Murray
    blew the whistle and raised concerns of race discrimination, wage theft, DOT violations,
    insurance fraud, and wage discrimination during an internal investigation and was terminated.
 337.   Upon information and belief, the causal connection between the protected activity and the
    adverse employment actions is evidenced by their temporal proximity.
 338.   Upon information and belief, as their employer, defendant corporation, and individual,
    Defendant Grey engaged in egregious prohibited conduct listed above. This led to Mr.
    Murray’s retaliatory termination.
 339.   Defendants' actions and omissions warrant an award of punitive damages.


                                 NINTH CAUSE OF ACTION
            VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
                     (Brought on behalf of Plaintiff Moyle and Welsh)
 340.   Upon information and belief, The Americans with Disabilities Act, 42 U.S.C. § 12101, et
    seq., prohibits employers from discriminating against qualified individuals because of a
    disability "regarding job application procedures, the hiring, advancement, or discharge of
    employees, employee compensation, job training, and other terms, conditions, and privileges
    of employment." 42 U.S.C. § 12112.
 341.   Plaintiff Moyle and Plaintiff Welsh repeat and reallege all paragraphs above as though fully
    set forth herein.
 342.   Upon information and belief, because depression and severe anxiety substantially limit at
    least one of Plaintiff Moyle's and Plaintiff Welsh’s major life activities, Plaintiff Moyle and
    Plaintiff Welsh are individuals with a disability under the ADA. The life activities limited by
    severe depression are:

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        a. Sleeplessness, or excessive sleeping,
        b. Lack of concentration,
        c. Lack of focus and articulation,
        d. Lack of communication,
        e. Eating disorder,
        f. The inability to take care of himself, and
        g. The inability to regulate his emotions and thoughts.
 343.   Plaintiff Moyle and Plaintiff Welsh were fully qualified to be a Business Manager and On-
    Road Supervisor and could perform all the essential functions of the positions. Plaintiff Moyle
    and Plaintiff Welsh worked for Defendant for over three and seven years before they were
    diagnosed with depression and severe anxiety and would be demoted, removed, reassigned,
    and denied their reasonable accommodations while they were out on short-term disability
    leave.
 344.   Plaintiff Moyle and Plaintiff Welsh were both prescribed medications with severe side
    effects that detrimentally impacted one or more of their major life activities.
 345.   As a result of Defendant's actions, Plaintiff Moyle and Plaintiff Welsh have suffered and
    will continue to suffer economic and non-economic harm.


                                  TENTH CAUSE OF ACTION
          VIOLATION OF THE NYSHRL and NYC ADMINISTRATIVE CODE
                     (Brought on behalf of Plaintiff Moyle Plaintiff Welsh)
 346.   To establish a prima facie case of disability disparate treatment, Plaintiff must show that
    (1) he is an individual with a disability, (2) he is otherwise qualified to perform the essential
    functions of her job, and (3) he was discriminated against because of his disability.
 347.   Plaintiff Moyle and Plaintiff Welsh repeat and reallege all paragraphs above as though fully
    set forth herein.
 348.   Upon information and belief, because depression and severe anxiety substantially limit at
    least one of Plaintiff Moyle's and Plaintiff Welsh’s major life activities, Plaintiff Moyle and
    Plaintiff Welsh are individuals with a disability under the NYCHRL. The life activities limited
    by severe depression are:
        a.   Sleeplessness, or excessive sleeping,
        b.   Lack of concentration,
        c.   Lack of focus and articulation,
        d.   Lack of communication,
        e.   Eating disorder,
        f.   The inability to take care of himself, and

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         g. The inability to regulate his emotions and thoughts.
 349.    Plaintiff Moyle and Plaintiff Welsh were fully qualified to be a Business Manager and On-
      Road Supervisor and could perform all the essential functions of the positions. Plaintiff Moyle
      and Plaintiff Welsh worked for Defendant for over three and seven years before they were
      diagnosed with depression and severe anxiety and would be demoted, removed, reassigned,
      and denied their reasonable accommodations while they were out on short-term disability
      leave.
 350.    Plaintiff Moyle and Plaintiff Welsh were both prescribed medications with severe side
      effects that detrimentally impacted one or more of their major life activities.
 351.    As a result of Defendant's actions, Plaintiff Moyle and Plaintiff Welsh have suffered and
      will continue to suffer economic and non-economic harm.


                                 ELEVENTH CAUSE OF ACTION
                                    UNJUST ENRICHMENT
             (On behalf of Plaintiff Murray, Plaintiff Welsh, and Plaintiff Moyle)
 352.    According to the doctrine of unjust enrichment, the Plaintiff must show "(1) the other party
      was enriched, (2) at the other party's expense, and (3) that it is against equity and good
      conscience to permit the other party to retain what is sought to be recovered." Buonasera v.
      Honest Co., Inc., 208 F. Supp. 3d 555, 567 (S.D.N.Y. 2016).


                               1. UPS WAS UNJUSTLY ENRICHED:
 353.    Plaintiff Welsh, Plaintiff Moyle, and Plaintiff Murray repeats and realleges all paragraphs
      above as though fully set forth herein. Plaintiff Welsh, Plaintiff Moyle, and Plaintiff Murray
      were required to consistently utilize their vehicle to benefit Defendant's corporation throughout
      his employment. Plaintiff Welsh, Plaintiff Moyle, and Plaintiff Murray were required to pay
      out of pocket for gas to fill the gas tank of the defendant corporation's vehicle and fill the gas
      tank of their vehicle when and he used his vehicle to the benefit of the defendant corporation.
      Plaintiff Welsh, Plaintiff Moyle, and Plaintiff Murray were denied their $30.00 monthly
      payment for his cellphone17 to conduct the defendant corporation’s business use.




 17
   According to the Defendants corporation's internal policy, supervisors and managers are supposed to be
 compensated $30.00 per month for using their cellphones to conduct company business.

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                             2. UPS WAS ENRICHED AT THE EXPENSE OF
                           PLAINTIFFS WELSH, MOYLE, AND MURRAY18:
 Plaintiff Welsh:
 354.     Plaintiff Welsh repeats and realleges all paragraphs above as though fully set forth herein.
      Plaintiff Welsh drove his vehicle an average of 300 miles per day throughout his employment
      with Defendant corporation while conducting Defendant corporation's business. Plaintiff
      Welsh was required to deliver packages while driving his vehicle, visit accident sites while
      driving his vehicle, conduct observations and reviews while driving his vehicle, as well as
      moving "off routes.19” while driving his vehicle. The defendant corporation required Plaintiff
      welsh to use his vehicle instead of using a package car because it does not have access to
      parkways. Personal vehicles were more expedient. There was an average of 50 off routes per
      day.
 355.     Plaintiff Welsh logged approximately 78,300 miles per year on his vehicle. Plaintiff Welsh
      worked as an on-road supervisor for three years, which brings the approximate total mileage
      to 234,900.
 356.     Plaintiff Welsh was required to use his money to put gas into Defendant corporation's
      package cars (delivery trucks). This occurred at least three times per month at an estimated
      cost of $50.00 per occurrence. Plaintiff Welsh was required to pay out of pocket whenever the
      Defendant corporation failed to procure adequate gas cards. Plaintiff Welsh estimates his
      uncompensated gas expense for Defendant corporations package cars as $5,400.00 throughout
      his employment.
 357.     Besides paying out-of-pocket costs to fill the corporate Defendant's package cars, he was
      also required to put gas into his vehicle when he had to conduct off route's deliveries, accident
      site visits, and inspections. Plaintiff Welsh was required to pay approximately $38.18 per week,
      which equals $152.72 per month. Plaintiff Welsh estimates his uncompensated gas expense for
      delivering packages, conducting observations, and visiting accident sites on behalf of
      Defendant corporation as $5,497.97 and totaling approximately $10,897.97 over the duration
      of his employment.



 18
    The estimated out-of-pocket cost does not include the cash payments Plaintiff Murray, Plaintiff Welsh, and Plaintiff
 Moyle had to pay to cover automobile accidents on the Defendant corporation.
 19
    Missorted packages that are placed into the wrong delivery vehicle.

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 358.   Plaintiff Welsh was denied his $30.00 monthly payment for the use of his cellphone. This
    occurred throughout the duration of his employment, with an estimated annual cost of $360.00
    annually and a total cost of $1,080.00 for his employment duration.


 Plaintiff Moyle:
 359.   Plaintiff Moyle repeats and realleges all paragraphs above as though fully set forth herein.
    From 2014 to 2015, Tommy Francis directed Mr. Moyle to make over $5000.00 in out-of-
    pocket cash payments to car accident victims in order to prevent them from calling the police
    or filing insurance claims. Mr. Moyle was not compensated for this out-of-pocket expense.
 360.   From 2015 to 2017, Anthony Celano directed Mr. Moyle to make over $12,000 in out-of-
    pocket cash payments to car accident victims in order to prevent them from calling the police
    or filing insurance claims. Mr. Moyle was not compensated for this out-of-pocket expense.


 Plaintiff Murray:
 361.   Plaintiff Murray repeats and realleges all paragraphs above as though fully set forth herein.
    Plaintiff Murray drove his vehicle an average of 150 miles per day throughout his employment
    with Defendant corporation while conducting Defendant corporation's business. Plaintiff
    Murray was required to deliver packages while driving his vehicle, visit accident sites while
    driving his vehicle, conduct observations and reviews while driving his vehicle, as well as
    moving off routes while driving his vehicle. Defendant corporation required Plaintiff Murray
    to use his vehicle, as opposed to using a package car. There was an average of 75 off routes
    per day.
 362.   Plaintiff Murray logged approximately 39,150 miles per year on his vehicle. Plaintiff
    Welsh worked as an on-road supervisor for three years, which brings the approximate total
    mileage to 117,450.
 363.   Plaintiff Murray was required to use his money to put gas into Defendant corporation's
    package cars throughout his employment with Defendant corporation. This occurred at least
    four times per month at an estimated cost of $50.00 per occurrence. Plaintiff Murray was
    required to pay out of pocket whenever the Defendant corporation failed to procure adequate
    gas cards. Plaintiff Murray estimates his uncompensated gas expense for Defendant
    corporations package cars as $7,200.00 throughout his employment.

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 364.   Additionally, he was also required to put gas into his vehicle when he had to conduct off
    route's, deliveries, accident site visits, and inspections. Plaintiff Murray was required to pay
    approximately $40.00 per week, which equals $160.00 per month. Plaintiff Murray estimates
    his uncompensated gas expense for delivering packages, conducting observations, and visiting
    accident sites on behalf of Defendant corporation as $5,760.00 and totaling approximately
    $12,960.00 over the duration of his employment.
 365.   Plaintiff Murray was denied his $30.00 monthly payment for the use of his cellphone. This
    occurred throughout the duration of his employment, with an estimated annual cost of $360.00
    annually and a total cost of $1,080.00 for the duration of his employment.


        3. IT IS AGAINST EQUITY AND GOOD CONSCIENCE TO PERMIT UPS TO
                   RETAIN THE OUT-OF-POCKET EXPENSES OWED TO
                       PLAINTIFF’s WELSH, MURRAY, AND MOYLE:
 366.   Plaintiff Moyle, Plaintiff Welsh, and Plaintiff Murray have submitted their monthly
    expense reports throughout the duration of their employment. Lloyd Hall, Chance Stewart, and
    William Grey failed to reimburse them for the expense report. As previously stated, on one
    occasion William Grey chastised Plaintiff Murray for placing his expense report request in
    writing and then informed him that the company did not have the budget to pay the expenses.
 367.   UPS’s 4th quarter 2020 earnings were 24.9 Billion Dollars, it would be against equity and
    would be beyond unconscionable to permit UPS to retain Plaintiff Moyle, Plaintiff Welsh, and
    Plaintiff Welsh's out-of-pocket expenses.
 368.   As their employer, Defendant engaged in the egregious prohibited conduct listed above.
    This caused Plaintiff Welsh, Murray, and Moyle to suffer economic harm.
 369.   Defendants' actions and omissions warrant an award of punitive damages.


                               TWELFTH CAUSE OF ACTION
                     VIOLATION OF NYC ADMINISTRATIVE CODE
                          (Brought on behalf of Plaintiff Welsh for
                      Aiding and Abetting brought against Lloyd Hall)
 370.   According to N.Y.C. Admin. Code § 8-107(6) Aiding and abetting. It shall be an unlawful
    discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any
    of the acts forbidden under this chapter or attempt to do so.

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 371.   Plaintiff Welsh repeats and realleges all paragraphs above as though fully set forth herein.
 372.   Plaintiff Welsh participated in protected activity by making internal complaints via the
    1800 hotline, complaining to upper management, and contacting human resources on many
    claims. After doing so, Plaintiff Welsh allege defendant Lloyd Hall took several adverse
    employment actions against him, including, among other things, being written-up and
    subjected to heightened scrutiny of his work product, denying him the secretary he needed to
    effectively execute his job, making him work egregious hours and shifts, denying his disability
    accommodations request, prohibiting him from partaking in his religious observances (Shabbat
    Dinner).
 373.   Lloyd Hall implemented these acts.
 374.   Their temporal proximity evidences the causal connection between the protected activity
    and the adverse employment actions.
 375.   As his supervisor and or manager, defendant Lloyd Hall engaged in egregious prohibited
    conduct listed above. This caused Plaintiff Welsh to suffer from severe depression and anxiety,
    which led him to resign from his job.
 376.   Defendants' actions and omissions warrant an award of punitive damages.


                             THIRTEENTH CAUSE OF ACTION
                     VIOLATION OF NYC ADMINISTRATIVE CODE
                          (Brought on behalf of Plaintiff Moyle for
                   Aiding and Abetting brought against Chance Stewart)
 377.   According to N.Y.C. Admin. Code § 8-107(6) Aiding and abetting. It shall be an unlawful
    discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any
    of the acts forbidden under this chapter or attempt to do so.
 378.   Plaintiff Moyle repeats and realleges all paragraphs above as though fully set forth herein.
 379.   Plaintiff Moyle participated in protected activity by making internal complaints by
    complaining to upper management and contacting human resources on a myriad of claims.
    After doing so, Plaintiff Moyle alleges defendant Chance Stewart took several adverse
    employment actions against him, including, among other things, being written-up and
    subjected to heightened scrutiny of his work product, denying his disability accommodations
    request, making him work egregious hours and shifts, reassigning him to work in locations that



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    are egregiously far from his home (in violation of UPS internal policy) and demoting him while
    he was on short term disability leave.
 380.   Chance Stewart implemented these acts.
 381.   Their temporal proximity evidences the causal connection between the protected activity
    and the adverse employment actions.
 382.   As his supervisor and or manager, defendant Chance Stewart engaged in egregious
    prohibited conduct listed above. This caused Plaintiff Moyle to suffer severe depression and
    anxiety, which led him to resign from his job.
 383.   Defendants' actions and omissions warrant an award of punitive damages.


                           FOURTEENTH CAUSE OF ACTION
                     VIOLATION OF NYC ADMINISTRATIVE CODE
                         (Brought on behalf of Plaintiff Murray for
                     Aiding and Abetting brought against William Grey)
 384.   According to N.Y.C. Admin. Code § 8-107(6) Aiding and abetting. It shall be an unlawful
    discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any
    of the acts forbidden under this chapter or attempt to do so.
 385.   Plaintiff Murray repeats and realleges all paragraphs above as though fully set forth herein.
 386.   Plaintiff Murray participated in protected activity by complaining to upper management
    and contacting human resources on many claims. After doing so, Plaintiff Murray alleges
    defendant William Grey took several adverse employment actions against him, including,
    among other things, being written-up and subjected to heightened scrutiny of his work product,
    making him work egregious hours and shifts, paying him less than his Caucasian colleagues,
    denying him repayment for his expenses, accusing him of covering up an accident that William
    Grey instructed him to cover up, and terminating him after he participated in an internal
    investigation.
 387.   William Grey implemented these acts.
 388.   Their temporal proximity evidences the causal connection between the protected activity
    and the adverse employment actions.
 389.   As his supervisor and or manager, defendant William Grey engaged in egregious prohibited
    conduct listed above. This egregious prohibited conducted lead to a retaliatory investigation
    and ultimately Plaintiff Murray’s termination.


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 390.   Defendants' actions and omissions warrant an award of punitive damages.


                               FIFTEENTH CAUSE OF ACTION
                    VIOLATION OF NYC ADMINISTRATIVE CODE
      (Brought on behalf of Plaintiff Moyle, Plaintiff Murray, and Plaintiff Welsh for
    Employer liability for discriminatory conduct by an employee, agent or independent
                    contractor brought against Defendant corporation)
 391. New York City Human Rights Law § 8-107(13)(b), imposes liability on the employer for
    its employee's conduct in three instances: (1) where the offending employee exercised
    managerial    or    supervisory    responsibility;   (2) where   the employer knew     of   the
    offending employee's unlawful discriminatory conduct and acquiesced in it or failed to take
    immediate and appropriate corrective action'; and (3) where the employer should have known
    of the offending employee's unlawful discriminatory conduct yet failed to exercise reasonable
    diligence to prevent it.
 392.   Plaintiff Moyle, Plaintiff Murray, and Plaintiff Walsh ("Plaintiffs") repeats and realleges
    all paragraphs above as fully set forth herein.
 393.   There is sufficient evidence from which a reasonable trier of fact could find that Defendant
    Corporation knew or should have known about William Grey, Chance Stewart, Tommy
    Francis, Terri Murphy, Anthony Celano, Rhonda Ward, Tim O’Connor, and Howard
    McLeish’s conduct.
 394.   Defendants have engaged in egregious acts of discrimination, theft of time, insurance fraud,
    and cheating. When Plaintiff’s complained or went against Defendants unethical and illegal
    acts, Defendants retaliated.
 395.   Their temporal proximity evidences the causal connection between the protected activity
    and the adverse employment actions.
 396.   As the employer, Defendant engaged in egregious prohibited conduct listed above. This
    egregious prohibited conduct caused plaintiffs to suffer from severe depression and anxiety,
    leading to their termination or resignation.
 397.   Defendants' actions and omissions warrant an award of punitive damages.




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                              SIXTEENTH CAUSE OF ACTION
                  VIOLATION OF NEW YORK LABOR LAW § 215 and 740
                  (Brought on behalf of Plaintiff Welsh and Plaintiff Murray)
 398.   Plaintiff Welsh, Plaintiff Murray, and Plaintiff Moyle ("Plaintiffs") repeats and realleges
    all paragraphs above as fully set forth herein.
 399.   At all relevant times, Plaintiffs have been subject to Defendants' standard practices,
    policies, programs, procedures, protocols, and plans, including willfully engaging in conduct
    that violates NYLL § 215 and 740.
 400.   According to NYLL § 215 and 740, this claim is authorized and instituted based upon the
    dangerous and potentially deadly employment practices of Defendants. Specifically, Plaintiffs
    complain that Defendant’s engaged in DOT violations for both the package delivery drivers
    and the on-road supervisors.
 401.   To recover under N.Y. Lab. Law § 740 claims the Plaintiff must show that he reported or
    threatened to report the employer's activity, policy or practice, but need not claim that he cited
    any particular law, rule, or regulation at the time that Plaintiff made a report. Tonra v. Kadmon
    Holdings, Inc., 405 F. Supp. 3d 576, 579 (S.D.N.Y. 2019).


 Plaintiff Murray:
 402.   As previously stated, Plaintiff Murray raised concerns with human resource manager
    Beverly regarding Defendant corporation and Defendant Greys unethical and dangerous
    practice of forcing on-road supervisors and package delivery drivers to violate DOT hours
    regulations.
 403.   Shortly after Plaintiff Murray raised his concerns to Beverly, Defendant corporation and
    Defendant Grey retaliated against Plaintiff Murray by terminating his employment. The temper
    of proximity is so close that an inference of retaliatory intent is undeniable. Plaintiff Murray’s
    termination is a clear violation of NYLL § 740.


 Plaintiff Welsh:
 404.    As previously stated, Plaintiff Welsh raised concerns with human resources regarding
    Defendant corporation and Defendant Greys unethical and dangerous practice of forcing on-
    road supervisors to violate DOT hours regulations.



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 405.     Shortly after Plaintiff Welsh raised his concerns to human resources, Defendant
      corporation and Defendant Hall retaliated against Plaintiff Welsh by denying his religious
      observance request, changing his work schedule so he would be forced to work on the Sabbath,
      and by denying his ADA accommodations request. These actions by Defendant's resulted in
      Plaintiff Welsh's constructive discharge from Defendant corporation. The temper of proximity
      is so close that an inference of retaliatory intent is undeniable. Plaintiff Welsh’s constructive
      discharge is a clear violation of NYLL § 740.
 406.     Defendant corporation's act of manipulating the DOT hours for the package delivery
      drivers and the on-road supervisors is a dangerous practice that presents a substantial and
      specific danger to the public health or safety.


 Plaintiff Moyle:
 407.     Plaintiff Moyle raised concerns of DOT violations with safety director Terri Murphy. On multiple
      occasions, Plaintiff Moyle would personally have DOT violations whenever he worked over his allotted
      hours. Terri Murphy would call him and chastise him to go into the GTS system and reduce his hours.
      Plaintiff Moyle would complain about fatigue and stated that the was concerned about driving on little
      to no sleep and getting into accidents.
 408.     Plaintiff Moyle also raised concerns about the number of hours the package delivery drivers were
      required to drive. Plaintiff Moyle expressed that he feared the auto accidents were a result of the DOT
      violations, and sleep deprivation of the drivers. Terri Murphy did not care about Plaintiff Moyles
      concerns. It is Plaintiff Moyles belief that Terri Murphy used these complaints coupled with the filing
      of the injury mentioned above, to retaliate against him and get him to resign from UPS.


 UPS learned nothing from Walmart:
 409.     One would think that UPS would learn from the deadly practices of Walmart when their
      DOT violations nearly cost actor-comedian Tracy Morgan his life in 201420. As is the case
      here, Walmart knew their package delivery driver drove beyond the allotted DOT-regulated
      hours. Walmart decided to place profits over people and allowed their driver to drive with only
      a handful of hours of rest. This deadly decision by Walmart accident cost comedy writer James
      McNair his life.

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   https://www.washingtonpost.com/news/morning-mix/wp/2015/08/12/shocking-images-of-tracy-morgan-crash-
 in-report-blaming-driver-of-wal-mart-truck/

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 410.   In reporting the DOT hours violations of Defendant corporation to human resources,
    Plaintiffs Murray and Welsh were attempting to protect the public from potentially suffering
    another Walmart tragedy.
 411.   Defendant’s treatment of Plaintiff Welsh and Plaintiff Murray was done out of retaliation
    and their disdain for individuals who dare to blow the whistle concerning Defendant’s DOT
    practices, in violation of NYLL § 740.
 412.   Plaintiff Welsh and Murray were damaged in an amount to be determined at trial.

                                 PRAYER FOR RELIEF
        WHEREFORE, Plaintiff’s respectfully requests that this Court enter judgment against
 Defendants by:
    a) Designating this action as a collective action and authorizing prompt issuance of a notice
       according to N.Y. CLS CPLR § 901 to all putative class members apprising them of the
       pendency of this action and permitting them to promptly file consents to be Plaintiffs in
       the NYLL claims in this action;
    b) Declaring that Defendants violated the minimum wage provisions of, and rules and orders
       promulgated under, the NYLL as to Plaintiff’s and all similarly situated employees;
    c) Declaring that Defendants violated the overtime wage provisions of, and rules and orders
       promulgated under, the NYLL as to Plaintiff’s and all similarly situated employees;
    d) Declaring that Defendants violated the timely payment provisions of, and rules and orders
       promulgated under, the NYLL as to Plaintiff’s and all similarly situated employees;
    e) Declaring that Defendants violated the notice and recordkeeping requirements of the
       NYLL concerning Plaintiff's and all similarly situated employee's compensation, hours,
       wages, and any deductions or credits taken against wages;
    f) Declaring that Defendants violated the federal Equal Pay Act of 1963 concerning Plaintiff
       Murray and all similarly situated employees, compensation, hours, wages, and any
       deductions or credits taken against wages;
    g) Declaring that Defendants' violations of the federal Equal Pay Act of 1963 were willful as
       to Plaintiff Murray and all similarly situated employees;
    h) Declaring that Defendants violated Title VII of the Civil Rights Act of 1964 concerning
       Plaintiff's and all similarly situated employee's compensation, hours, wages, and any
       deductions or credits taken against wages;
    i) Declaring that Defendants’ violations of Title VII of the Civil Rights Act of 1964 were
       willful as to Plaintiff’s and all similarly situated employees;
    j) Awarding Plaintiff's and all similarly situated employees' damages for the amount of
       unpaid minimum wage and overtime compensation, and any improper deductions or credits
       taken against wages, as well as awarding spread hours pay under the NYLL as applicable;
    k) Awarding Plaintiff's and all similarly situated employees' damages for Defendants'
       violation of the NYLL notice and recordkeeping provisions, according to NYLL §§ 198(1-
       b), 198(1-d);
    l) Awarding Plaintiff's liquidated damages in an amount equal to one hundred percent (100%)
       of the total amount of minimum wage, overtime compensation, and spread of hours pay

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         shown to be owed according to NYLL § 663 as applicable; and liquidated damages
         according to NYLL § 198(3);
    m)   Award Plaintiff Murray and all others similarly situated employees the value of all
         compensation and benefits lost and that they will lose in the future as a result of Defendants'
         unlawful conduct that violated the federal and state Equal Pay laws;
    n)   Award Plaintiff's and all others similarly situated compensatory and punitive damages that
         stem from Defendants' violation of federal and state Equal Pay laws;
    o)   Award Plaintiff Murray and all others similarly situated employees the value of all
         compensation and benefits lost and that they will lose in the future as a result of Defendants'
         unlawful conduct that violated Title VII of the Civil Rights Act of 1964;
    p)   Award Plaintiff Murray and all others similarly situated compensatory and punitive
         damages that stem from Defendants' violation of Title VII of the Civil Rights Act of 1964;
    q)   Award Plaintiffs and all others similarly situated pre-judgment interest and attorneys' fees,
         costs, and disbursements, as provided by law;
    r)   Providing that if any amounts remain unpaid upon the expiration of ninety (90) days
         following issuance of the judgment or ninety (90) days after expiration of the time to appeal
         and no appeal is then pending, whichever is later, the total amount of judgment shall
         automatically increase by fifteen (15%) percent, as required by NYLL § 198(4); and
    s)   All such other and further relief as the Court deems just and proper.

                                          JURY DEMAND
 Plaintiffs and all similarly situated employees demand a jury trial on all issues triable by a jury.


 Dated: Brooklyn, New York
 February 19, 2021


                                                                     By: Tyrone A. Blackburn, Esq.

                                                                 ______/s/ Tyrone Blackburn_____
                                                                        Tyrone A. Blackburn, Esq.
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